Exhibit 8
                                                           Page 1

1       UNITED STATES BANKRUPTCY COURT

2       DISTRICT OF DELAWARE

3       Case No. 12-11564-css

4       - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

5       In the Matter of:

6       ALLIED SYSTEMS HOLDINGS, INC., ET AL.,

7                   Debtors.

8       - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

9       ADV. PROC. NO. 12-50947-css

10

11      ALLIED SYSTEMS HOLDINGS, INC.,

12                  Plaintiff,

13      v.

14      AMMC VIII, LIMITED, AVENUE CAPITAL GROUP,

15      BDCM OPPORTUNITY FUND II, LP, BENNETT

16      MANAGEMENT, BLACK DIAMOND CLO 2005-1 LTD.,

17      DEL MAR DISTRESSED OPPORTUNITIES MASTER FUND,

18      MJX ASSET MANAGEMENT, LLC, PAR-FOUR INVESTMENT

19      MANAGEMENT, SPECTRUM INVESTMENT PARTNERSHIP, LP,

20      TEAK HILL - CREDIT CAPITAL INVESTMENTS, LLC,

21      THE CIT GROUP/BUSINESS CREDIT, INC., THE OFFICIAL

22      COMMITTEE OF UNSECURED CREDITORS, YUCAIPA AMERICAN

23      ALLIANCE (PARALLEL) FUND II, L.P.,

24                  Defendants.

25       - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

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1       - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

2       THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF

3       ALLIED SYSTEMS HOLDINGS, INC. AND ITS AFFILIATED

4       DEBTORS, ON BEHALF OF ALLIED SYSTEMS HOLDINGS, INC.,

5       AND ITS AFFILIATED DEBTORS,

6                   Plaintiffs,

7

8       BLACK DIAMOND OPPORTUNITY FUND II, L.P., BLACK

9       DIAMOND CLO 2005-1 LTD., AND SPECTRUM INVESTMENT

10      PARTNERS, L.P.,

11                  Intervenors,

12

13      -against-

14

15      YUCAIPA AMERICAN ALLIANCE FUND I, L.P., YUCAIPA

16      AMERICAN ALLIANCE (PARALLEL) FUND I, L.P., YUCAIPA

17      AMERICAN ALLIANCE FUND II, L.P., YUCAIPA AMERICAN

18      ALLIANC (PARALLEL) FUND II, L.P., MARK J. GENDREGSKE,

19      JOS OPDEWEEGH, JAMES FRANK, DEREX WALKER, JEFF

20      PELLETIER, IRA TOCHNER, and JOSEPH TOMCZAK,

21                  Defendants.

22      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

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1                       United States Bankruptcy Court

2                       824 North Market Street

3                       Wilmington, Delaware

4

5                       July 30, 2013

6                       10:13 AM

7       B E F O R E :

8       HON CHRISTOPHER S. SONTCHI

9       U.S. BANKRUPTCY JUDGE

10

11      ECR OPERATOR:   LESLIE MURIN

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1       First Omnibus Motion for an Order Pursuant to Section 365 of

2       the Bankruptcy Code and Bankruptcy Rule 6006 Authorizing the

3       Debtors to Assume Certain Real Property Leases [Docket No.

4       671; filed November 30, 2012]

5

6       Debtors' Fourth Motion Pursuant to Bankruptcy Rules 9006(b)

7       and 9027 for Order Extending the Time to File Notices of

8       Removal of Civil Actions [Docket No. 1249; filed June 4,

9       2013]

10

11      Debtors' Fourth Motion for Extension of Exclusive Periods

12      During Which Debtors May Propose and File Plans of

13      Reorganization and Solicit Acceptances Thereof [Docket No.

14      1250; filed June 4, 2013]

15

16      Debtors' Motion to Authorize Axis Group, Inc. to Enter

17      License Agreement with City of New York [Docket No. 1284;

18      filed June 17, 2013]

19

20      Motion of the Debtors Pursuant to 11 U.S.C. § 107(b)(1) of

21      the Bankruptcy Code, Bankruptcy Rule 9018, and Local Rule

22      9018-1(b) to File Exhibit to Key Employee Incentive Plan

23      Under Seal [Docket No. 1370; filed July 1, 2013]

24

25

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1       Petitioning Creditors' Motion to File a Redacted Version of

2       the Objection of the Petitioning Creditors to the Debtors'

3       Motion for Order Authorizing (I) Implementation of Key

4       Employee Incentive Plan for Certain Insiders and (II)

5       Payment of any Obligations Arising Thereunder as

6       Administrative Expenses [Docket No. 1456; filed July 22,

7       2013]

8

9       Motion for Authorization to Seal the Unredacted Objection of

10      the Official Committee of Unsecured Creditors to Motion for

11      an Order Pursuant to Sections 105(a), 363(b)(1) and

12      503(c)(3) of the Bankruptcy Code Authorizing (I)

13      Implementation of Key Employee Incentive Plan for Certain

14      Insiders and (II) Payment of any Obligations Arising

15      Thereunder as Administrative Expenses [Docket No. 1460;

16      filed July 22, 2013]

17

18      Motion of Norman Fredrick Wessels, Joyce Elaine Wessels,

19      Gladys Ann Walker, Michael Jay Meyer, and Dale Woudstra and

20      Tonia Woudstra for Relief from the Automatic Stay to Pursue

21      Personal Injury Claims [Docket No. 761; filed January 8,

22      2013]

23

24      Motion by James Joseph Pursuant to 11 U.S.C. §362 for Relief

25      from the Automatic Stay [Docket No. 1147; filed May 8, 2013]

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1       Motion and Joinder of Travis and Erin Cogdill to Motion of

2       Norman Frederick Wessels, Joyce Elaine Wessels, Gladys Ann

3       Walker, Michael Jay Meyer and Dale Woudstra and Tonia

4       Woudstra for Relief from the Automatic Stay to Pursue

5       Personal Injury Claims (Docket No. 761) [Docket No. 1282;

6       filed June 17, 2013]

7

8       Motion for an Order Pursuant to Sections 105(a), 363(b)(1)

9       and 503(c)(3) of the Bankruptcy Code Authorizing (I)

10      Implementation of Key Employee Incentive Plan for Certain

11      Insiders and (II) Payment of any Obligations Arising

12      Thereunder as Administrative Expenses [Docket No. 1369;

13      filed July 1, 2013]

14

15      Motion of Yucaipa American Alliance Fund I, L.P.'s and

16      Yucaipa American Alliance (Parallel) Fund I, L.P. for

17      Reconsideration and/or Amendment of Final Order Granting

18      Debtors' Motion for Authorization to Obtain Post-petition

19      Secured Replacement DIP Financing and Related Relief [Docket

20      No. 1373; filed July 2, 2013]

21

22      Interim Fee Applications:

23

24      P

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1       Petitioning Creditors' Motion for Summary Judgment Regarding

2       the Determination of Requisite Lenders Under the First Lien

3       Credit Agreement [Adv. (12-50947) Docket No. 246; Adv. (13-

4       50530) Docket No. 253; filed July 9, 2013]

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25      Transcribed by:   Sherri L. Breach & Sheila Orms

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1                                P R O C E E D I N G S

2                   THE CLERK:     All rise.

3                   THE COURT:     Please be seated.

4                   Good morning.

5                   MR. SAMIS:     Good morning, Your Honor.   Chris Samis

6       from Richards, Layton & Finger here today on behalf of the

7       debtors.

8                   Your Honor, as for today's agenda, the only items

9       that require any action by the Court are Items 5, 6, 13, and

10      14.

11                  Items 5 and 6 are both seal motions that relate to

12      the Key Employee Incentive Plan which is not being heard

13      today; Item Number 13 are the third interim fee applications

14      that were adjourned from a prior hearing; and Item Number 14

15      is the main event, which is the motion for summary judgment

16      that was filed by the petitioning creditors on the requisite

17      lender issue.

18                  Your Honor, we can proceed in any fashion that you

19      would like.     I -- I leave it up to Your Honor.

20                  THE COURT:     I -- did you mention the fee

21      applications?

22                  MR. SAMIS:     Yes.   They're -- they're at Agenda

23      Item 13, Your Honor.       They were adjourned from the hearing

24      in June.

25                  THE COURT:     Yes.   Yes.

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1                    First -- give me two minutes to get my papers

2       organized.

3                    MR. SAMIS:     Certainly.

4             (Pause)

5                    THE COURT:     All right.     I should have done this

6       earlier.

7                    Okay.   Well, with Agenda Number 5, that -- that

8       binder had been misplaced and it was found this morning.             So

9       that order has been signed.

10                   And 6 indicates -- it's just -- that it's going to

11      go forward.     So what's --

12                   MR. SAMIS:     Your Honor, I'm not sure if the

13      petitioning creditors have a form of order here today.

14                   THE COURT:     Ms. Mumford.

15                   MS. MUMFORD:     Good morning, Your Honor.     I do have

16      a form of order.

17                   THE COURT:     All right.

18                   MS. MUMFORD:     May I approach?

19                   THE COURT:     Yes.

20                   And for the record this is the motion to file

21      certain -- a redacted version, I'm sorry, of the petitioning

22      creditors' motion regarding the Key Employee Incentive Plan.

23      Is there any objection?

24                   All right.     I've signed the orders presented.

25                   Now let's kick over to the fee apps.

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1                    MR. SAMIS:   Your Honor, on the fee applications,

2       the fee auditor issued final reports with respect to all the

3       applications.     All of the professionals have signed off on

4       the form of order that was previously submitted under

5       certification of counsel, and I believe there are

6       representatives from the various forms either in court or on

7       the phone today.

8                    So I don't know if Your Honor has any independent

9       questions, but I do have a form of order prepared.

10                   THE COURT:   All right.     Please approach.

11                   MR. SAMIS:   Thank you, Your Honor.

12                   THE COURT:   Does anyone wish to be heard with the

13      interim fee applications as modified?

14                   All right.   I hear none.     As always, I -- I very

15      much appreciate the assistance of our fee auditors and this

16      one in particular, and I'm happy to sign the orders

17      presented.     And anyone who is here just for that is more

18      than welcome to jump off the phone or leave the court.

19                   So I've signed the order.

20                   MR. SAMIS:   Thank you, Your Honor.

21                   That would bring us to Item 14, Your Honor, which

22      is the main event, the petitioning creditors' motion for

23      summary judgment.

24                   At this time I would cede the podium to counsel

25      for the petitioning creditors.

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1                   THE COURT:     Okay.

2                   Mr. Harris.     No.     All right.

3                   MR. WARD:     Good morning, Your Honor.

4                   THE COURT:     Good morning.

5                   MR. WARD:     Robert Ward on behalf of the

6       petitioning creditors.

7                   Your Honor, in the -- in petitioning creditors'

8       motion, we seek a ruling that Yucaipa is not the requisite

9       lender and that the petitioning creditors are.          And we

10      believe we have numerous bases -- a number of basis -- bases

11      for the relief we seek.

12                  First off, Justice Ramos in the State Court in New

13      York resolved two issues.          First, and this is at page 14 of

14      Exhibit 1, that's his opinion:          "That the purported Fourth

15      Amendment is not and never was effective under the plain

16      terms of the credit agreement," and then "Yucaipa is not the

17      requisite lender."

18                  Contrary to Yucaipa's argument, Justice Ramos

19      never said that Yucaipa is not the requisite lender as a

20      result of the fact that the Fourth Amendment is null and

21      void.   In fact, in reaching his decision that Yucaipa is not

22      the requisite lender, Justice Ramos reviewed and construed

23      the Third Amendment and the purported Fourth Amendment,

24      both.

25                  In particular, as to the Third Amendment, Justice

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1       Ramos determined, for example, and this is a quote at page 4

2       to 5 of his opinion:

3                    "The Third Amendment prohibited Yucaipa from

4       exercising any and all voting rights" -- that's the Third

5       Amendment -- "prohibited Yucaipa from exercising any and all

6       voting rights it would otherwise have as a lender involving

7       the right to consent to any amendment of the credit

8       agreement or the right to vote in any Allied bankruptcy."

9                    He also found that the Third Amendment represented

10      a compromise between Yucaipa, which wanted to acquire a

11      portion of Allied's debt obligations and the lenders who

12      recognized the dangers in allowing Yucaipa to assert

13      unfettered control over the credit lien agreement -- the

14      lien credit agreement.     And he found in that respect, Your

15      Honor, and I quote again, with respect to the Third

16      Amendment:

17                   "The quid pro quo for permitting Yucaipa to

18      acquire the term loan was that any such term loans acquired

19      by Yucaipa would be subject to substantial restrictions

20      that, among other things, would preclude Yucaipa from voting

21      on any matter that would affect in any way the rights and

22      remedies of the lenders."

23                   That's, again, on the Third Amendment, Your Honor.

24      That's page 9 of Exhibit 1, Justice Ramos's opinion.

25                   In fact, Justice Ramos also found, and I quote

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1       from page 4 of his opinion:    "The restrictions" -- and he

2       was dealing here with the Third Amendment.    It's the section

3       of his opinion on the Third Amendment:    "The restrictions

4       precluded Yucaipa from becoming the requisite lender or

5       exerting a control over the other lenders."

6                   It's clear from the opinion, Your Honor, that

7       Justice Ramos is construing the Third Amendment here.

8                   He also found at pages 4 -- 4 and 5 of his opinion

9       that the Third Amendment prohibited Yucaipa from exercising

10      any voting rights they would otherwise have as a lender.

11      With respect to that, pages 4 and 5, the quote by the judge

12      is:

13                  "By the terms of the Third Amendment upon

14      acquiring any interest in the term loans, Yucaipa 'knowingly

15      and irrevocably waived any and all right to exercise any

16      voting rights it would otherwise have as lender for all

17      purposes under the credit agreement.'"

18                  He was quoting from the Third Amendment.

19                  Under the Third Amendment, Your Honor, he also

20      found "That the aggregate outstanding principal amount of

21      the term loan of Yucaipa shall be disregarded for purposes

22      of the definition of term loan exposure and, thus, for the

23      calculation of who can be the requisite lender."       That's

24      page 5 of his opinion.

25                  It is clear from Justice Ramos's opinion, Your

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1       Honor, that he construed the terms of the Third Amendment

2       and determined the issues which led him to -- to conclude

3       that Yucaipa is not the requisite lender.

4                   And, Your Honor, the reason that I'm --

5                   THE COURT:    Well, what --

6                   MR. WARD:    -- quoting --

7                   THE COURT:    -- what about -- what about this

8       argument that, fine, but because of the nature of who was on

9       which side at which time that Justice Ramos's ruling are not

10      binding as collateral estoppel on Yucaipa?

11                  MR. WARD:    Well, Your Honor, the only person that

12      -- the only entity I know that's -- that's fighting my

13      clients being the requisite lender is Yucaipa.      The fact is

14      Allied -- and I can find a cite for it, Your Honor.      Allied,

15      I believe, in its opposite -- or its -- its statement on

16      June 19th in connection with the application or the

17      objection, I suppose, of Yucaipa said -- and this is at

18      Exhibit 5 to my -- to my affidavit, Your Honor, which is the

19      reply affidavit.    At paragraph 9, Allied acknowledged that

20      in the New York Court, the New York Court conclusively

21      determined that "Yucaipa is not the requisite lender and

22      that Justice Ramos's ruling is binding and conclusive."

23                  Further, at page 2 and in paragraph 16 of that

24      same document, which is the debtors' document -- it's

25      Exhibit 5 to my affidavit -- Allied -- Allied acknowledged

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1       in the opening paragraph and at paragraph 16 that Black

2       Diamond, Spectrum and the AMMC Group are the requisite

3       lenders.    The only entity, Your Honor, here that's fighting

4       is -- is the only entity with respect to which we have

5       collateral estoppel, and that is Yucaipa which was a party

6       to the New York case.

7                   THE COURT:    Okay.

8                   MR. WARD:    And -- and I would like to get into the

9       elements of collateral estoppel, if I can, Your Honor --

10                  THE COURT:    Sure.

11                  MR. WARD:    -- to -- to seek further to prove that.

12                  Your Honor, with respect to collateral estoppel,

13      we believe that the issue of Yucaipa not being the requisite

14      lender was raised in the New York proceeding.      That's the

15      first element of collateral estoppel;

16                  Secondly, that the issue was actually litigated

17      and decided in that proceeding;

18                  Third, that Yucaipa had a full and fair

19      opportunity to litigate those issues; and

20                  Fourth, that the resolution of those issues was

21      necessary to support the final judgment, the valid and final

22      judgment on the merits because the issue of whether or not

23      Yucaipa was a requisite lender was actually raised.

24                  And, Your Honor, with respect to that, let me

25      point to Your Honor that in the wherefore clauses in the New

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1       York complaint, which is Exhibit 4 to the -- to the

2       Mendelson affidavit, which is our moving affidavit, it

3       doesn't tie the request for a declaration that Yucaipa is

4       not the requisite lender to the Fourth Amendment.      They're

5       separate.    They're separate elements.

6                   In addition to that, Your Honor, at paragraph 14

7       of the New York complaint we separately seek "a declaration

8       that the purported Fourth Amendment is invalid and that the

9       Yucaipa defendants are not the requisite lender under the

10      credit agreement."    They weren't tied together.

11                  And in fact, Your Honor, at page 5 -- I'm sorry --

12      page 3, paragraph 5 of the New York complaint the

13      petitioning creditors allege:

14                  "The Third Amendment also expressly provided that

15      if Yucaipa were to acquire any term loan exposure, Yucaipa

16      would not be entitled to vote and the obligations held by it

17      would essentially be disregarded in connection with any

18      matter required to be submitted to the lenders for consent

19      under the credit agreement."

20                  I'm -- I'm just going to point out a few

21      paragraphs, Your Honor, where in our complaint in the New

22      York action we specifically addressed the Third Amendment

23      and -- and Yucaipa engaged us in their answer in connection

24      with those allegations.

25                  For example, in paragraph 31 at page 10 of our New

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1       York complaint we say, with respect to the Third Amendment:

2       "Specifically, Yucaipa's potential status as a lender was

3       subject to the following restrictions and conditions, among

4       others:     Three, Yucaipa would not have any voting rights

5       with respect to any term loan."     That was specific to the

6       Third Amendment.

7                    At paragraph 31 of Yucaipa's answer, Yucaipa

8       engages on that issue and says -- they state that the

9       question of whether or not and to what extent Yucaipa's

10      potential status as a lender is subject to restrictions and

11      conditions is a question of law for which no response is

12      required.

13                   By the way, Your Honor, when we sought a

14      determination in our wherefore clause, and I believe I said

15      in paragraph 16 of the complaint, we sought a determination

16      that they were not the requisite lender under the credit

17      agreement.     And in the complaint we defined the credit

18      agreement to include the Third Amendment.     And -- and that

19      is clear throughout the complaint and it's clear in

20      Yucaipa's answer.

21                   At paragraph 33, page 11, Your Honor, of our

22      complaint, again speaking about the Third Amendment, we said

23      that the restrictions and conditions were necessary -- the

24      restrictions and conditions in the Third Amendment were

25      necessary to ensure that Yucaipa "did not obtain unfettered

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1       control over Allied by, among other things, becoming the

2       requisite lender."

3                   We continue at paragraph 34 to cite the Third

4       Amendment and say, "Pursuant to the Third Amendment, the

5       prohibitions imposed on Yucaipa's ability to acquire and

6       write term -- and -- and buy term loans and other

7       obligations effectively preclude Yucaipa from ever becoming

8       a requisite lender."

9                   In its answer -- and, again, Yucaipa is engaging

10      us in these allegations.    We're making the allegations about

11      the Third Amendment.    They're engaging us in those

12      allegations.    Yucaipa denies the allegations that I just

13      referred to that we had made, denies the allegations

14      contained in paragraph 34, and respectfully refers the Court

15      to the credit agreement and all of the amendments thereto

16      for a full and accurate statement of its contents.     We had

17      already defined in the complaint what the credit amendment

18      was -- credit agreement was and that is -- it includes the

19      Third Amendment and the Fourth Amendment, and Yucaipa here

20      says, "and all the amendments thereto."

21                  I'm not going to burden the record much further,

22      Your Honor, but at page -- paragraph 60, page 18 of our

23      complaint we say, "We seek a declaration under CPLR" --

24      that's Civil Practice Law and Rules -- "3001 that the

25      purported Fourth Amendment is null and void and, separately,

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1       that Yucaipa is not requisite lender under the credit

2       agreement."

3                    Yucaipa, in its answer, admits that the complaint

4       seeks this declaration, but denies that the plaintiffs are

5       entitled to it.

6                    There's no place in the -- in the answer where

7       Yucaipa says, we're only fighting here about the Fourth

8       Amendment.     We were fighting about the Third Amendment and

9       the Fourth Amendment.

10                   THE COURT:    Well, my memory of the argument in

11      front of Justice Ramos was that it was focused entirely on

12      the Fourth Amendment.

13                   MR. WARD:    Your Honor, there's a couple of things

14      you have to remember.       First off, there was an argument on

15      November 19th and -- and those issues -- and it was a -- it

16      was a longish argument, but those issues, as happens in oral

17      argument, went one or two different directions depending on,

18      you know, how the parties were arguing.

19                   But if you actually look at our motion -- if you

20      actually look at two things.       First off, Justice Ramos's

21      decision, which I was reading to you earlier, where there

22      are numerous quotes where he's construing the Third

23      Amendment.     But, also, if you look at the motion for summary

24      judgment that we actually filed -- and let me just quote a

25      couple of things from there.

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1                   With respect to our motion for summary judgment,

2       in our moving brief at page 25 we seek a ruling from the New

3       York Court that "it declare that Yucaipa is not the

4       requisite lender under the credit agreement."    And we don't

5       say there a requisite lender under the Fourth Amendment.

6                   In connection -- in our reply brief on summary

7       judgment -- this is paragraph -- this is Exhibit 68 to Mr.

8       Sauer's affidavit, the petitioning creditors specifically

9       argue that Yucaipa could not have become a requisite lender

10      under the Third Amendment; that under the Third Amendment at

11      Section 2.1(e) Yucaipa "could buy a limited amount of term

12      loans and could never vote them."    That's page 7.   This is

13      all in our motion for summary judgment which was before the

14      Court and, actually, as a result an actually litigated

15      issue.

16                  And in addition in our reply brief on summary

17      judgment, "That the prohibitions in the Third Amendment

18      prevent a defendant from becoming requisite lenders."

19      That's at page 8.

20                  It's clear, Your Honor, that in our summary

21      judgment motion we were addressing the Third Amendment, the

22      Fourth Amendment, and the issue of requisite lender all at

23      once.    The fact that -- by the way, on the November 19th

24      oral argument that we focused mainly on -- or we focused, I

25      think -- well, actually, we focused on two things, Your

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1       Honor.

2                   First, language in the Fourth Amendment.     But very

3       quickly, language in one of the defenses that had been

4       raised by Yucaipa based on the Georgia action.     So,

5       basically, those were the two issues that were in that oral

6       argument.

7                   However, in the actual written decision from

8       Justice Ramos, I think dated March 19th, he deals

9       extensively with the Third Amendment and then deals with the

10      Fourth Amendment.    And it's on -- on both of those bases,

11      and I think it is very clear from reading his opinion that

12      he decides those issues.

13                  But the reason I've been going through, Your

14      Honor, what we actually argued in our complaint and then in

15      response to Your Honor's question of what was actually

16      argued or asserted in our complaint -- alleged in our

17      complaint, and then what we actually argued in summary

18      judgment is that the issue of Yucaipa not being the

19      requisite lender was raised in the New York proceeding.

20      It's in our complaint.     If you look through it, if you look

21      at the cites that I've mentioned it's actually there.

22      Yucaipa engages us in that issue.     The issue was actually

23      litigated and decided in the proceeding.

24                  Now Yucaipa says they didn't have a full

25      opportunity -- a full and fair opportunity to litigate.

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1       However, Justice Ramos said at page 13 of his opinion,

2       Exhibit 1 again, "The credit agreement itself is unambiguous

3       and, accordingly, summary judgment is appropriate."        That's

4       page 11 of his argument -- of his decision actually.

5                    For their part, the defendants contend that there

6       are many factual issues.     There are none.   This is a case of

7       contract interpretation.     That's page 13.   And Your Honor

8       knows very well that when you have a case of contract

9       interpretation and when the contract is clear on its face,

10      you don't need extrinsic evidence.     The argument that

11      Yucaipa is making that they didn't have a chance to do

12      discovery and, as a result, they didn't have a full and fair

13      opportunity to litigate is -- is just wrong.

14                   In fact, we quote a case at page 7 of our brief

15      called Kronish versus Dehari (ph) saying that a summary

16      judgment constitutes "a full and fair opportunity to

17      litigate."

18                   Yucaipa had the full and fair opportunity to

19      litigate, Your Honor.     The issue was raised in our answer.

20      The issue was raised in our summary judgment motion.        And

21      the resolution of the issue, Your Honor, was necessary for a

22      valid and final judgment because we did ask for that relief

23      in our complaint.     In our wherefore clause we do ask

24      separately that the Fourth Amendment is -- is invalid and,

25      secondly, that they were not the requisite lender.

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1                   In getting there, if you read Justice -- if -- and

2       I'm sure Your Honor has -- if you read Justice Ramos's

3       decision which is Exhibit 1 to our moving affidavit, he

4       clearly goes through the Third Amendment and construes it.

5       And I've --

6                   THE COURT:    Okay.

7                   MR. WARD:    -- I've cited to some of the

8       constructions.     And, in fact, it's some of the same

9       construction that I'll be going through a minute in talking

10      about the Third Amendment, Your Honor.

11                  THE COURT:    Okay.

12                  MR. WARD:    But -- so why don't I just move on,

13      Your Honor.     And with respect to the next issue, even if the

14      New York Court had not already ruled that Yucaipa was the

15      requisite lender, that Court clearly ruled that the

16      purported Fourth Amendment is no longer in effect -- is null

17      and void and was never in effect, actually, and that's

18      clearly binding on collateral -- by virtue of collateral

19      estoppel on Yucaipa.      I don't see any fight on that issue.

20                  And that holding results, Your Honor, in the

21      application of the Third Amendment since the Fourth

22      Amendment has been dealt -- has been determined to be null

23      and void.     That holding results in the application of the

24      Third Amendment to the issues presented in this motion.

25                  And this includes the express provisions in the

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1       Third Amendment that any obligations -- and I'll get into

2       these in a second.     Any of the debt obligations acquired by

3       Yucaipa are disregarded and not counted for purposes of

4       determining who is the requisite lender.

5                    Now Yucaipa argues that the Third Amendment is

6       ineffective.     But that's directly at odds with, I believe,

7       this Court's prior recognition of the Third Amendment as

8       effective, valid and enforceable.

9                    And that is, Your Honor, on October 18, 2012, Your

10      Honor will recall Allied commenced its own adversary

11      proceeding before this Court.     And in Exhibit 4 to my reply

12      affidavit, we attached that complaint and in that complaint

13      Allied seeks a declaration identifying who the requisite

14      lender is and a ruling on the enforceability of both the

15      Third and the Fourth Amendments.

16                   Then after Justice Ramos ruled from the bench on

17      November 19th, but before his longer written decision which

18      is the one that deals much more with the Third Amendment, as

19      the Court is aware Yucaipa filed cross-claims against, among

20      other -- among other defendants, my clients, the petitioning

21      creditors.     That's Exhibit 15 to our moving affidavit.

22                   Now petitioning creditors moved to dismiss that

23      cross-claim.     That's Exhibit 22 to our moving affidavit,

24      which motion this -- this Court granted on several grounds

25      and including, Your Honor, the ground that the covenant not

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1       to -- not to -- that there was a covenant not to sue

2       contained in the Third Amendment at Section 2.7(e), page 7

3       of the Third Amendment, which was binding on Yucaipa once it

4       -- once it purchased the Allied debt.

5                   In fact, this Court specifically -- and in fact --

6       I'm sorry -- that Section 2.7(e) at page 7 of the Third

7       Amendment, the covenant not to sue, is binding only on

8       Yucaipa.    It is specifically tailored to Yucaipa.     It just

9       says Yucaipa.    They're called the restricted lender

10      affiliate, something like that, but it's a defined term in

11      there.

12                  But with respect to Your Honor's ruling, what Your

13      Honor said on February 27th in your ruling, which is Exhibit

14      3 to our moving affidavit, Your Honor said, "In support of

15      that" -- our motion to dismiss the cross-claims, which Your

16      Honor granted -- "In support of that, I really, for all

17      material aspects, adopt the petitioning creditors' arguments

18      virtually in toto."    And then the Court highlighted the

19      arguments on which it relied.

20                  In particular, the Court's decision turned on this

21      covenant not to sue, which is only contained in the Third

22      Amendment and specifically refers only to Yucaipa.       And the

23      Court found that contrary to Yucaipa's arguments, the

24      covenant not to sue in the Third Amendment, which

25      specifically, you know, addressed them, was binding on

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1       Yucaipa.    And the Court found that the allegations pled by

2       Yucaipa in arguing in their -- in their cross-claims against

3       the application of the covenant not to sue was not plausible

4       under the Twombly Iqbal standards.    That's page 104 of

5       Exhibit 3, Your Honor.    That's the transcript.

6                   The Court found that the plain meaning of this

7       covenant not to sue in the Third Amendment, that the plain

8       meaning is that Yucaipa couldn't sue.    In fact, the quote

9       from Your Honor is, at page 105, "I don't think there's any

10      question as to the plain meaning of the covenant and I think

11      it's very clear."

12                  Now since the Court found that Yucaipa was bound

13      by the covenant not to sue, which is contained in the Third

14      Amendment, obviously the Court was finding that Yucaipa was

15      bound by a provision of the Third Amendment and that the

16      Third Amendment was binding and effective on Yucaipa, which

17      we think is the law of the case, but let me just go a little

18      bit further on this, Your Honor.

19                  This Court then made several other findings that

20      reinforced the applicability of the Third Amendment as

21      against Yucaipa.    At page 106, lines 9 through 15:

22                  "As to the applicability, the first lien credit

23      agreement does contain the provision that when you buy or

24      assign the debt, you are stuck with what you asked nor had

25      previously agreed to and waived, et cetera.     And I find that

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1       when Yucaipa bought this debt, they were subject to the

2       agreements that had been previously entered and, as such,

3       they are applicable when they're -- when they're looking at

4       the Third Amendment."    I think it's when we're looking at

5       the Third Amendment, Your Honor, but you certainly

6       referenced the Third Amendment at the end.

7                   And then again, Your Honor, at page 106 at -- at

8       -- I'm sorry, Page 106, line 22 to page 107 line 1, "That's

9       the very normal and understandable provision; that when you

10      buy something, when you buy a debt, when you buy the debt,

11      it is what it is and you are where you are, and you can't

12      undo -- you can't have that time machine ability to undo the

13      previous agreement."

14                  What Your Honor was talking about there, I

15      believe, was that the Fourth Amendment had been rendered

16      null and void, and you go back to the Third Amendment and

17      you can't act as if the Third Amendment didn't exist.

18                  However, once again, the language that I'm quoting

19      to Your Honor from your opinion, I think, of February 27th

20      was -- points out that the Third Amendment was binding on

21      Yucaipa.    And we believe, Your Honor, that this is law of

22      the case.

23                  In response, Yucaipa argues that the application

24      of law -- of the law of the case doctrine is discretionary.

25      However, I point out, Your Honor, that one of your bases for

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1       your determination was the application of the Twombly Iqbal

2       standards that the claims -- that -- that the claims have to

3       rise to the level of plausibility, which is Exhibit 3, page

4       104, lines 7 through 11.     There's nothing that's happened

5       since this Court's determination of February 27th, five

6       months ago, to make those cross-claims about actions from

7       four -- and four and five years ago more plausible.

8                    Further, this Court denied Yucaipa's application

9       to re-plead, and said at Exhibit 3, page 110, lines 6

10      through 7, "I'm going to dismiss the case with prejudice."

11                   So, yes, Your Honor, the application of the law of

12      the case doctrine is discretionary, but nothing has changed

13      since then.     We believe it was a firm finding by Your Honor

14      and Your Honor, in fact, dismissed the case with prejudice.

15                   Now, Your Honor, moving on to the Third Amendment

16      itself, even if this Court determines not to apply its prior

17      determination that the Third Amendment, we believe, is

18      effective, there can be no doubt that the Third Amendment is

19      effective.

20                   Yucaipa's argument as to why the Third Amendment

21      is ineffective is that the Fourth Amendment requires

22      unanimous consent and so must the Third Amendment.     And

23      Yucaipa has several other arguments, but let me get into our

24      -- the main thrust of the argument here, Your Honor.

25                   The fact is this -- this argument by Yucaipa rests

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1       on the fundamental misconception as to Section 10.5 of the

2       first lien credit agreement, and it ignores critical

3       differences between the Third Amendment and the Fourth

4       Amendment.

5                    Generally, amendments to the first lien credit

6       agreement are controlled by Section 10.5(a), and that's

7       Exhibit H, which is the first lien credit agreement, and

8       that requires only requisite lender consent, which was

9       obtained in connection with the Third Amendment.

10                   With respect, however, to certain other types of

11      amendments, they are controlled by Section 10.5(b) as

12      opposed to (a), and with respect to Section 10.5(b)(ix), and

13      I quote, this is Exhibit A, the first lien credit agreement:

14      "Without the written consent of each lender, other than a

15      defaulting lender, that would be effected thereby, no

16      amendment, modification, termination or consents shall be

17      effective if the effect thereof would be," and then "(ix)

18      amend the definition of requisite lender."

19                   Now Justice Ramos found that the purported Fourth

20      Amendment had the effect of amending the definition of

21      requisite lenders because it allowed Yucaipa, for the first

22      time, to become a requisite lender and thus effected --

23      effected and affected -- thus affected every lender without

24      requiring -- thereby requiring unanimous consent, which

25      wasn't obtained.

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1                   And I was trying to imagine a more fundamental

2       change than that before the Fourth Amendment Yucaipa could

3       not be the requisite lender and then after the Fourth

4       Amendment they could.

5                   But the change to the Third Amendment on the other

6       hand, Your Honor, did not affect any of the lenders because

7       prior to the Third Amendment, Yucaipa could not become the

8       requisite lender and after the Third Amendment Yucaipa could

9       not become the requisite lender because, as I'll get into in

10      a minute, there were significant restrictions placed on the

11      debt that Yucaipa bought.      I've been calling it neutered

12      debt in -- in several of those proceedings.

13                  However, as opposed to the Third Amendment, the

14      purported Fourth Amendment is a very different story because

15      after its alleged passage, Yucaipa could become the

16      requisite lender.

17                  Your Honor, prior to the Third Amendment Yucaipa

18      was precluded from buying any Allied debt under the first

19      lien credit agreement and that's because the definition of

20      eligible lender excluded Yucaipa specifically.      They were

21      the sponsor and the sponsor was excluded.

22                  THE COURT:    Were they -- were they prohibited from

23      buying or were the lenders prohibited from selling?

24                  MR. WARD:    Well, Your Honor, I -- I think it's the

25      lenders were prohibited from selling, but I don't see at the

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1       end of the day that that really matters as much because,

2       first off, once they bought the debt they were still subject

3       to the prior authorities and conditions, and so they became

4       subject to the terms.      And maybe that's a little bit

5       circular.

6                   But. in addition, how do you buy the debt that

7       you're precluded from buying without causing a tortuous

8       interference with the agreement.         So it seems that what

9       Yucaipa is saying is by virtue of their wrongful behavior,

10      they should be rewarded here.       We don't think that that's

11      justifiable or allowable under -- under any of the claims.

12                  If what Your Honor is talking about is the Praven

13      (ph) line of decisions that was raised, you know, by

14      Yucaipa, I'm happy to get into that --

15                  THE COURT:    Yeah.   Please do.

16                  MR. WARD:    -- right now.

17                  Well, with respect to Praven, Your Honor, and I

18      think some of this is really a red herring.         But Praven is

19      the governing case.      It's a Second Circuit case and it holds

20      that under New York law only expressed limitations on

21      assignability are enforceable.       And you have to remember the

22      context in which the Praven case was coming out of.

23                  In Praven, the underlying agreement "expressly

24      permits assignments to financial institutions," and this is

25      a quote.    "It does not limit assignments only to those

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1       entities."     In other words, it's inclusionary.     It's not

2       exclusionary language.     And as I was citing to Your Honor,

3       what -- what Praven -- what the Second Circuit in Praven was

4       looking for is exclusionary language.        You know, it said

5       "Under New York law only expressed limitations on

6       assignability are enforceable."

7                    And with respect to Praven, again, the underlying

8       language that's being construed is -- this is -- this is the

9       language from the underlying agreement:        "We may -- we may

10      assign all or any part of our interest in the letter

11      agreement to any financial institution."        In other words,

12      it's all inclusionary.     It says who you can assign to.        It

13      doesn't say who you can't assign to.

14                   This agreement is very clear.     It's page -- I

15      believe it's page 17.     It's the definition -- of Exhibit 8.

16      It's the definition of eligible lender, eligible assignee,

17      and it specifically excludes Yucaipa.        In Praven, there's no

18      exclusionary language.     There's only inclusionary language,

19      Your Honor.     That's very, very different.     And -- and we'll

20      get into that in a second, Your Honor.        But, specifically,

21      Yucaipa was excluded from -- from being an eligible assignee

22      under the agreement.     And that's very much missing in

23      Praven.

24                   In addition, Your Honor, Yucaipa cites a number of

25      -- of other cases.     And I'm sorry.   And the exclusionary

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1       language actually continued in the Third Amendment, Your

2       Honor, because Yucaipa was specifically excluded from being

3       able to buy any letter of credit debt and revolving debt.

4       That's Section 2.1(c) of the Third Amendment.     And under

5       Section 2.7(e) of the Third Amendment, they could only buy

6       20 percent of the aggregate principal amount of term loan

7       exposure or $50 million, subject to significant limitations.

8       I'll get into that in a second.

9                    But we believe, Your Honor, that the Praven

10      standard was satisfied because of the expressed limitations

11      on assignability, you know, contained in -- in the credit

12      agreement.

13                   Now Yucaipa also cites Sullivan, Alhusen (ph) and

14      a number of other New York cases which it relies on which

15      don't involve credit agreements.     They are factually

16      distinguishable.     They are assignments of simple bilateral

17      contracts which -- where typically there's a provision in

18      each of those contracts requiring the consent of the other

19      side.   That's not this agreement.    This is a very different

20      agreement, our credit agreement.     There's no consent

21      requirement and it's a much more complex agreement.

22                   But in connection with Sullivan and Alhusen and

23      the thing to recall -- or the thing to take into account is

24      that these cases state a proposition relative to the general

25      assignability of clauses under New York law.     And in none of

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1       these cases is there exclusionary language.     There is no

2       list in Alhusen or Sullivan or any of these cases as to a

3       specific assignee that is excluded.     Again, it's -- it's a

4       simple proposition of New York law that generally, you know,

5       generally you can have assignments.     Generally, as the quote

6       -- as the Court quoted in Alhusen and Sullivan, you know,

7       generally you can have assignments.

8                   However, in none of those cases was there any

9       exclusionary language specifying an entity or a person to

10      whom you could not assign.     And I think that's very

11      important, Your Honor.

12                  In addition, in Alhusen and Sullivan, Praven and

13      also -- and I'll get to it in a second -- in 785 Partners,

14      you didn't have a case where the assignee, Yucaipa here,

15      negotiated the limitations on their ability to -- on the

16      ability to assign, as Yucaipa did here.     And I can get into

17      that in a second.    We cite it in our brief.   It was Yucaipa

18      itself that negotiated the Third Amendment.

19                  And so in none of these cases do you actually have

20      a situation where it’s the assignee who is negotiating the

21      limitation and then is seeking relief from the limitation by

22      going to this general principle of New York law.

23                  However, Alhusen, Sullivan, they are all general

24      assignability cases, but so is Singer versus Baccus (ph),

25      which is a more recent case.     It's an appellate division

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1       case.    As Your Honor knows, that's the intermediate

2       appellate court in New York.    It's a 202 case.

3                   And Baccus holds, Your Honor, and we think this is

4       dispositive, "There is no need for the non-assignment clause

5       to also contain talismanic language or magic words

6       describing the effect of any attempt by the assignor to make

7       an assignment."    That's a much more practical way of looking

8       at it.

9                   Also, in Alhusen, one of the cases that's relied

10      upon by Yucaipa, the Court said, "When clear language is

11      used and the plainest words have been chosen, parties may

12      limit the freedom of alienation of rights and prohibit an

13      assignment."

14                  Your Honor, there's nothing clearer than what's

15      contained in paragraph -- in -- at page 17, Section 1.1 of

16      the first lien credit agreement where it says Yucaipa may

17      not be the eligible -- may not be an eligible assignee.       And

18      then in the Third Amendment where it says Yucaipa may not

19      buy LC debt, may not buy revolving debt, and it can buy a

20      certain amount of term loan debt with significant

21      limitations.

22                  Now with respect to 785, once again, as with

23      Praven, there was a provision about the entities to whom an

24      assignment could be made; again, inclusionary language.       You

25      can assign to a financial institution.    There was no

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1       language saying you could not assign to X.     There was no

2       exclusionary language.    Again, that's a strong factual

3       distinction between that case, the Praven case, and our

4       case.

5                   And with respect to 787 (sic), as I said, it

6       relies very heavily upon Praven, which is to be expected.

7       Praven is the Second Circuit case, and we believe we

8       satisfied the Praven standard with the exclusionary

9       language, the expressed limitation language.     And, remember,

10      what Praven was looking for was expressed limitation

11      language and there's expressed limitation language in the

12      first lien credit agreement and in the -- in the Third

13      Amendment with respect to Yucaipa.

14                  But, also, in 785 Partners, the facts are very

15      different from the case here.    The facts in 785 were between

16      -- the dispute was between a borrower and a single assignee

17      of a single creditor.    It was a lender/borrower dispute.

18      Here, the dispute is an inter-creditor dispute where one

19      lender knowingly violated an agreement it itself negotiated

20      in order to obtain an advantage over the other lenders.       We

21      think as a result, Your Honor, 785 is factually

22      distinguishable.

23                  And Yucaipa cites no cases involving inter-

24      creditor disputes.    They cite a fair number of New York

25      cases involving simple contract assignability provisions.

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1       They are not credit agreements.          They are bilateral

2       contracts.     This is a much more complex situation, as Your

3       Honor knows from all the time we've spent with you.           But

4       there's no case, Your Honor, that they cite where there's an

5       inter-creditor dispute involved.

6                    THE COURT:    Okay.

7                    MR. WARD:    And once again, 785, Your Honor, is not

8       a case where the assignee negotiated the limitation on the

9       ability to assign as Yucaipa did here.

10                   THE COURT:    Right.

11                   MR. WARD:    So we think, Your Honor, that there are

12      many reasons that it's distinguishable.

13                   But if I -- if I can get back to the Third

14      Amendment, Your Honor.

15                   THE COURT:    Yes.     Thank you.

16                   MR. WARD:    With respect to the Third Amendment,

17      Your Honor, it -- first off, it -- it provided strict

18      conditions and limitations on the very limited amount of

19      debt that Yucaipa was allowed to buy, the result of which

20      was that Yucaipa could not become a requisite lender.

21                   For example, Section 2.1(e) of the Third Amendment

22      -- and that's page 3 of the Third Amendment and that's

23      Exhibit 2 to the Mendelson affidavit, our moving affidavit

24      says, "The aggregate outstanding principal amount of term

25      loans of Yucaipa shall be disregarded for purposes of this

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1       definition of term loan exposure."

2                    As Justice Ramos explained, Your Honor, at page 12

3       of his opinion, Exhibit 1 -- and by the way, Section 2.1(e)

4       is very important because it specifically says that any term

5       loan debt that Yucaipa buys shall be disregarded for

6       purposes of this definition.     And it's this definition that

7       is applied in connection with requisite lender because, as

8       Justice Ramos explained:

9                    "The term loan exposure is utilized both to define

10      which lenders may become the requisite lenders or be part of

11      the group comprising requisite lenders, and to calculate

12      whose obligations may be counted by calculating the amount

13      that a lender or group of lenders must hold in order to be

14      the requisite lender."

15                   So the definition, Your Honor, of requisite

16      lender, as Your Honor I think is familiar with very well by

17      now at page 41 of the first lien credit agreement is, "more

18      than 50 percent of the sum of the aggregate of term loan

19      exposure, letter of credit exposure, and revolving debt

20      exposure."

21                   And the fact is since, under Section 2.1(e) of the

22      Third Amendment the term loan exposure may not be counted

23      for any purpose whatsoever, they can never become the

24      requisite lender because under Section 2.1(c) of the Third

25      Amendment they are prohibited from buying an LC debt, any

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1       letter of credit debt, and they are prohibited from buying

2       revolving debt.

3                    And with respect to Section 2.1(e) at page 3 of

4       the Third Amendment that I just read, none of the term loan

5       debt that they buy can be counted for any purpose, including

6       for purposes of determining the requisite lender.     So they

7       can never get there under the Third Amendment.

8                    Your Honor, the point I'm trying to make is that

9       the Third Amendment and the Fourth Amendment were very

10      different.     The Fourth Amendment definitely affected all the

11      lenders because it removed all the restrictions in the Third

12      Amendment and thereby allowed Yucaipa for the first time to

13      become the requisite lender.

14                   With respect to the Third Amendment, as Justice

15      Ramos found, there was a quid pro quo.     You can buy some

16      debt, but subject to significant restrictions, including

17      some of the ones that I just spoke about, Your Honor.

18                   With respect to the Third Amendment -- and I'll

19      continue just a little bit, Your Honor, on that -- the

20      definition of term loan exposure as originally contained in

21      the first lien agreement is at Section 1.1, page 45, and it

22      defines term loan exposure as: "With respect to any lender

23      as of any date of determination, it's the outstanding

24      principle amount of the term loan of such lender."     This is

25      a fairly flat definition of what term loan exposure is.

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1                    When the Third Amendment was put into effect,

2       there was a proviso added that I eluded to already, Your

3       Honor, and that's at 2.1(e) of the Third Amendment, page 3.

4       And the language continues the language I've cited to you

5       from the first lien agreement which is fairly plain vanilla;

6       that with respect to any lender as of any date of

7       determination, the outstanding principle amount of the term

8       loan of such lender -- that's the underlying language from

9       the Third Amendment.     Then there's a proviso added by the

10      Third Amendment:

11                   "Provided further that with respect to any

12      provision of this agreement relating to the voting rights of

13      lenders, including the rights of lenders to consent or take

14      any action with respect to any amendment, modification,

15      termination or waiver of any provision of this agreement or

16      the other credit documents, or consent to any departure by

17      any credit party therefrom, the aggregate outstanding

18      principle amount of the term loans of all restricted sponsor

19      affiliates" -- restrict sponsor affiliates, that's -- that's

20      Yucaipa; that's a defined term.     Their debt "Shall be

21      disregarded for the purposes of the definition of term loan

22      exposure."

23                   And that's important, Your Honor, because as I

24      pointed out, the definition of requisite lender includes

25      term loan exposure, LC exposure and revolving debt.        Under

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1       Section 2.1(c) of the Third Amendment, Yucaipa could not buy

2       any LC debt.    The definition of eligible assignee, which is

3       amended at that section, says they cannot buy.    They cannot

4       have any LC debt.

5                   With respect to the term loan debt that they were

6       allowed to buy, it's -- it doesn't count as -- as the

7       definition of term loan exposure at Section 2.1(e) that I've

8       just read shows.

9                   So with respect to those two limitations -- or as

10      a result of those two limitations, Yucaipa could never

11      become the requisite lender because any LC debt -- well,

12      it's not allowed to buy any LC debt under 2.1(c) of the

13      Third Amendment.    And with respect to 2.1(e), any term loan

14      debt it buys, which is of a limited amount, it can't count

15      for the definition of requisite lender.

16                  So definitionally it can never become the

17      requisite lender because it can't get to the majority of the

18      aggregate -- of the sum of the aggregate of the term loan

19      debt, the LC debt, and the revolving debt because it can't

20      buy LC debt under 2.1(c) of the Third Amendment, and any

21      debt -- any long-term debt it buys under 2.1(e) just doesn't

22      count for any purpose whatsoever.

23                  But in addition to that, Your Honor, there's

24      another reason they can't become the requisite lender, and

25      that's because even if this -- these provisions saying that

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1       the term loan debt doesn't count and that they can't buy LC

2       debt, there are other restrictions.

3                    For example, Section 2.7(e) of the Third Amendment

4       provides a new section or creates a new section in the first

5       lien credit agreement, 10.6(j)(iv).     It's at page 7 of the

6       Third Amendment and it says: "Each lender that is a

7       restricted sponsor affiliate" -- and that's -- that's

8       Yucaipa.     That's the definition of Yucaipa in the Third

9       Amendment.

10                   "Each lender that is a restricted sponsor

11      affiliate, upon succeeding to an interest in the term loans"

12      -- and then -- "(iv) knowingly and irrevocably waives any

13      and all rights to exercise any voting rights it would have

14      otherwise -- it would otherwise have as a lender for all

15      purposes under this agreement and the other credit

16      documents."

17                   It just can't get any broader than that.     They

18      completely have given up any voting rights in return for the

19      quid pro quo, as Judge Ramos cites, for obtaining -- or the

20      ability to buy some term loan debt.

21                   Now this provision couldn't be any more clearer.

22      Yucaipa just forfeited any right it had to vote.        But this

23      Third Amendment also provides -- and it's very relevant for

24      the proceedings before Your Honor -- at Section 2.7(a) at

25      page 5 of the Third Amendment, which is Exhibit 2:

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1       "Restricted sponsor affiliates" -- again, that's Yucaipa.

2       "Restricted sponsor affiliates shall have no voting rights

3       for all purposes under this agreement (whether before,

4       during or after and in any insolvency or liquidation

5       procedure) and the other credit documents with respect to

6       their term loans specific to an insolvency."

7                    The same line, Your Honor, continues -- or the

8       same theme continues at Section 2.7(b).     I just read 2.7(a).

9       Section 2.7(b) of the Third Amendment at page 5 says:

10                   "Yucaipa, the restricted sponsor affiliate, that

11      becomes a lender hereunder shall not, in their capacity as

12      lenders, hereunder and hereby irrevocably and voluntarily

13      waive in their capacity as lenders hereunder any right to

14      make any election, give any consents, commence any action,

15      or file any motion, claim, obligation, notice or application

16      or take any such action in any insolvency or liquidation

17      proceeding without the prior written consent of all lenders,

18      other than restricted sponsor affiliates."

19                   Further, in paragraph 7(a), again, at page 5:

20                   "Yucaipa, the restricted sponsor affiliates, that

21      become lenders hereunder shall have no right under the

22      agreements     -- under -- under this agreement or any other

23      credit documents and hereby waive any such right to consent

24      to take any action with respect to any amendment,

25      modification, termination or waiver of any provision of this

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1       agreement or any other credit document or consent to any

2       departure by any credit party therefrom."

3                   They gave up all voting rights.     They specifically

4       gave up all actions with respect to this Court with respect

5       to an insolvency.

6                   Now Yucaipa says that the complete lack of voting

7       rights doesn't matter; that they could still count their

8       term loan exposure and partner up with someone else.          Well,

9       they can't count the term loan exposure under 2.1(e).          The

10      Third Amendment specifically says that.       But there are

11      several problems with their argument that -- that they can

12      simply count their exposure even if they can't vote.

13                  First, Yucaipa couldn't perform any of the

14      functions that were necessary for a requisite lender if it

15      couldn't vote. If it can't fulfill these functions

16      effectively it can't become the requisite lender.       In fact,

17      the New York Court -- the New York Court found this argument

18      that the determination of requisite lender had nothing to do

19      with term -- with voting rights to be "not logical."          And

20      that's Exhibit 16 to our moving affidavit, the transcript at

21      page 23.    And that the requisite lender's powers to make

22      "amendments, modifications and waivers can be exercised only

23      by voting."

24                  So the argument that even though I can't vote I

25      can still become the requisite lender that Yucaipa makes

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1       would make this language where they gave up all voting

2       rights, in particular with respect to insolvency

3       proceedings, superfluous.     And as this Court is well aware

4       you can't construe an agreement to render superfluous any of

5       language in the agreement.

6                    However, most relevant, Your Honor, are these

7       Sections 2.7(a) and 2.7(b) that I -- that I read to you that

8       specifically provide that Yucaipa has no voting rights

9       "before, during or after any insolvency proceeding."     You

10      know, the obvious intent of all these voting proceedings or

11      all of these voting prohibitions was to prevent Yucaipa from

12      exerting any influence with the very limited amount of term

13      loan debt it was permitted to acquire under the Third

14      Amendment.

15                   Plus, Your Honor, whether because of the exclusion

16      of term loan exposure by the definition in 2.1(e) for -- for

17      any purpose, or whether by the voting prohibition that's

18      contained at 2.7(e), Yucaipa simply can't become the

19      requisite lender.     It -- its debt doesn't count for purposes

20      of calculating the requisite lender.     It wasn't allowed

21      under 2.1(c) to buy any LC debt.     So it can never get to the

22      50 percent of the aggregate of term loan debt, LC debt and

23      revolving debt.     And even if it did, it has given up all

24      rights to vote and all rights to participate in proceedings

25      like this.     Therefore, it can't be the requisite lender.

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1                    THE COURT:    And what about --

2                    MR. WARD:    But, Your Honor, --

3                    THE COURT:    -- what about the argument on the flip

4       side that you can't be the requisite lender even if they are

5       not counted because of the infirmity in the transfer of --

6                    MR. WARD:    Well, Your Honor, I can --

7                    THE COURT:    -- I can't remember the name of the

8       company, but it's about one-and-a-half-million-dollars.

9                    MR. WARD:    AMMC, Your Honor.     You know, and let me

10      get to there right now.

11                   The fact is, Your Honor, Yucaipa concedes that we

12      have $51,938,610 in first lien debt, but -- but they do

13      argue that we are lacking the $4,548,000 in first lien debt

14      from AMMC.     So two things, Your Honor, and we've said this

15      in our reply papers and we've attached the documents.

16                   Once Justice Ramos declared that Yucaipa was not

17      the requisite lender, the petitioning creditors and AMMC and

18      certain other first lien lenders constituting the requisite

19      lenders appointed Black Diamond Commercial Finance and

20      Spectrum Commercial Finance as the co-administrator -- co-

21      administrator agents, and Black Diamond Finance -- Black

22      Diamond Commercial Finance as the collateral agent.          And

23      they registered the trades.

24                   But even if Your Honor finds that that's a little

25      too circular, the fact is the petitioning creditors,

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1       together with AMMC, would still be the requisite lender

2       because if you add our $51 million in debt to their $4.5

3       million in debt, we do get over the 50 percent hurdle, once

4       Yucaipa's, you know, debt is discounted.

5                   And, Your Honor, as we point out -- and this is

6       Exhibit 9 to my reply affidavit.    In the AMMC trade

7       confirmation, AMMC agreed to give petitioning creditors full

8       control of the first lien debt it was selling, including the

9       power to vote and/or to exercise rights or remedies under

10      the first lien credit agreement.    So as a result -- as a

11      result, Black Diamond and Spectrum controlled the AMMC debt.

12      And if you -- if you take the 51 million we have plus the

13      four-and-a-half-million they have, we do get over the 50

14      percent, Your Honor.

15                  In fact, if -- if you do the math, it comes out

16      something like this:    With Yucaipa's debt, term loan

17      exposure and -- and LC exposure and all the revolving

18      exposure together, there's a total of $244 million in debt.

19      Of this, Yucaipa purports to hold 134 million of term loan

20      exposure and LC exposure.

21                  As we point out, their LC exposure, they're not

22      allowed to have it under 2.1(c) of the Third Amendment.

23      That should fall out.    Their term loan exposure doesn't

24      count for purposes of the calculation of requisite lender.

25      When you take that out, it leaves $109 million worth of

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1       debt.   We have together 51.9 million and the AMMC debt which

2       is 4.5 million, and that amounts to more than 50 percent.

3                   So we believe, Your Honor, that by virtue of

4       Exhibit 9, which is attached to my reply affidavit, that we

5       do meet the standards.     We do have enough debt.

6                   Your Honor, just one other -- a few other very

7       brief points, I believe.

8                   Even if the Third Amendment is determined to be

9       ineffective and falls out of the picture entirely, still

10      under the first lien credit agreement Yucaipa can't become

11      the requisite lender.     And that's because the definition of

12      eligible assignee in the first lien credit agreement

13      specifically excludes the sponsor.     The sponsor was Yucaipa.

14      They can't be the assignee of any of the debt.       So Yucaipa

15      couldn't buy that debt.

16                  And, Your Honor, let me just walk through this

17      very briefly.

18                  The definition of requisite lender -- and I think

19      this is pretty obvious.     The definition of requisite lender

20      is one or more lenders having or holding term loan exposure,

21      LC exposure, and a revolving exposure and representing more

22      than 50 percent of the sum of the aggregate of the term loan

23      exposure, the LC exposure, and the revolving exposure of all

24      the lenders.    But it starts out, the requisite lender is one

25      or more lenders.    The fact is Yucaipa can't become a lender

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1       and here's why:

2                   Lender is defined at page 30 of Exhibit 8, which

3       is the first lien credit agreement, to be either "An

4       original signatory to the first lien credit agreement" --

5       and it wasn't.    It was specifically excluded as -- as a

6       sponsor.    But it's either "An original signatory to the

7       first lien credit agreement or a person that becomes a party

8       hereto" -- that's to the first lien credit agreement --

9       "pursuant to the assignment agreement."

10                  Now the assignment agreement is defined at page 5

11      of Exhibit 8 as "the agreement in the form of Exhibit E to

12      the first lien credit agreement," which at Section 1.2 of

13      this -- of the attachment, Exhibit E, it requires that the

14      assignee, which would be Yucaipa, represents that "it meets

15      all requirements of an eligible assignee under the credit

16      agreement."

17                  Well, Yucaipa can never meet any -- can never meet

18      all the requirements of an eligible assignee under the

19      credit agreement because specifically under the first lien

20      credit agreement it's excluded from being an eligible

21      assignee.

22                  So considering that in order to be a lender -- in

23      order to be the requisite lender you have to be a lender.

24      In order to be a lender, you have to take your interest

25      pursuant to the assignment agreement.     The assignment

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1       agreement requires a specific representation that you'll

2       meet all the requirements of the eligible assignee.    They

3       can't because, specifically, under the definition of

4       eligible assignee in Exhibit 8 of the first lien credit

5       agreement, page 17, they're excluded from being an eligible

6       assignee.

7                   And the same is -- would be true even -- even

8       under the Third Amendment, Your Honor, because under Section

9       2.1(c) they are not an eligible assignee for any LC or

10      revolving debt.    The same would be true with respect to term

11      loan exposure because none of that exposure counts.    They

12      have no voting rights.

13                  I think, Your Honor, the only other point I think

14      I need to touch on or would like to touch on is the

15      procedural basis for this motion, and I can do that fairly

16      quickly.

17                  Your Honor, at the hearing before this Court on

18      June 19th, the Court said, "I will make the determination as

19      to who is the requisite lender" -- I'm sorry -- "I will make

20      a determination as to who the requisite lender is either

21      prior to or at -- or in the context of the sale hearing.      I

22      don't see how else we can go forward.    It may or may not be

23      that I can do that as a matter of law.    I'll have to hear

24      the briefing on that."

25                  The second basis, Your Honor, for our motion is

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1       that in the fully negotiated amended scheduling order, which

2       is Exhibit 2 to my reply affidavit, the parties -- which was

3       so ordered by this Court, the parties, including Yucaipa,

4       acknowledged that this Court may address the issues of "the

5       enforceability and/or the impact of the Third Amendment on

6       any first lien debt purportedly held by Yucaipa and who, if

7       anyone, is the requisite lender."

8                   Also, Your Honor, in the Allied adversary

9       proceeding, and I attach it as Exhibit 4 to my reply

10      affidavit, Allied seeks a determination -- a declaration as

11      to which lenders constitute the requisite lender.       They've

12      now made that determination, as I've pointed out, in their

13      June -- in their June 19th papers.

14                  However, Your Honor, the Allied proceeding is

15      still under -- is alive and well, and in that proceeding it

16      -- it is a relevant issue, of course, as to who is the

17      requisite lender because that's specifically what Allied is

18      asking for, a declaration as to who is the requisite lender.

19                  In addition, and finally, Your Honor, the

20      requisite lender issue is integral and important to the

21      committee adversary proceeding because we argue -- we and

22      the committee argue, but we specifically also argue that

23      Yucaipa manipulated the debtors as an insider and in its

24      capacity as an alleged requisite lender and improperly acted

25      as a requisite lender.    That's Exhibit 6 to my affidavit at

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1       paragraph 142.

2                    So a finding as to who is the requisite -- as to

3       whether or not Yucaipa is the requisite lender is material

4       to all these claims.

5                    So, Your Honor, there was a basis for this motion.

6       The rules are not as strict as -- as Yucaipa would say.

7                    And with respect to, I think, just one other point

8       and that is, Your Honor, the statute of limitations.       We are

9       not looking historically as to what happened three years

10      ago.   The issue is who is the requisite lender is something

11      that needs to be currently determined.     Your Honor made that

12      determination, I believe, yourself in the -- in the first

13      language that I cited from your June 19th hearing.

14                   It's -- it's not a static situation.   It changes

15      over time.     What we are seeking right now is who is the

16      requisite lender currently and the requisite lender

17      currently is the lender that owns more than 50 percent of

18      the first lien debt which is entitled to be considered in

19      determining the identity of the requisite lender at any

20      given time.

21                   And as we point out, pursuant to the Third

22      Amendment, and even without the Third Amendment, pursuant to

23      the first lien credit agreement, Yucaipa can't hold this

24      debt or certainly can't vote this debt and it doesn't count

25      for purposes of -- of who is the requisite lender.

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1                   And so, Your Honor, very simply, I would finish by

2       saying that it's clear that either under Justice Ramos's

3       decision by the doctrine of collateral estoppel or this

4       Court's rulings on the -- I think the clear and unambiguous

5       language -- I'm sorry -- by this Court's rulings in

6       connection with the effectiveness of the Third Amendment

7       against Yucaipa, or under the clear and unambiguous language

8       of either the Third Amendment, or if that's not effective,

9       the first lien credit agreement that Yucaipa is not the

10      requisite lender and that the petitioning creditors, Your

11      Honor, are the requisite lender.

12                  Thank you very much.

13                  THE COURT:    You're welcome.

14                  Anyone else before I turn to Yucaipa?

15                  All right.    Let's take a short recess and then

16      I'll hear from Yucaipa.

17                  MR. WARD:    Thank you very much, Your Honor.

18            (Recess taken at 11:06 a.m.; resumed at 11:24 a.m.)

19                  THE CLERK:    All rise.

20                  THE COURT:    Please be seated.

21                  I'll hear from Yucaipa.

22                  MR. SAUER:    Good morning, Your Honor.   Russell

23      Sauer of Latham & Watkins for the Yucaipa funds in this

24      matter.

25                  And I've been in your courtroom before, Your

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1       Honor.      This is the first time I've actually had the

2       opportunity to address you, so I do appreciate that option.

3                     THE COURT:   All right.   Welcome.

4                     MR. SAUER:   For the first 45, 50 minutes of Mr.

5       Ward's presentation I thought Yucaipa had filed the motion

6       for summary judgment.       But, of course, it has not.    The

7       petitioning creditors' motion for summary judgment in this

8       case that they be deemed requisite lender should be denied.

9       The petitioning creditors have the burden of demonstrating

10      that there are no disputed issues of fact and that they are

11      entitled to judgment as a matter of law.

12                    And to prevail, to carry that burden, the

13      petitioning creditors must show two things:        One, that

14      they're entitled to include in the numerator of the

15      requisite lender calculation the $4.56 million of American

16      Money debt, and that all of the Yucaipa first lien debt, all

17      of it must be excluded from the denominator.

18                    Here, the petitioning creditors have not and

19      cannot carry that burden.

20                    As I proceed through some of my discussion this

21      morning, Your Honor, some of the discussion will be fairly

22      technical and it will be based on the terms of the first

23      lien credit agreement.       But petitioning creditors have made

24      the point of saying the first lien credit agreement is

25      clear.      It should be interpreted according to its terms.

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1       It's unambiguous.

2                   So as I go through my technical arguments, it is

3       important to understand the petitioning creditors can't have

4       it both ways.     They can't argue that the credit agreement is

5       clear and should be interpreted according to its terms when

6       it suits them, but then -- and we heard Mr. use -- Mr. Ward

7       use the words "the intent of the parties" several times

8       during his arguments.     What they can't do is then turn

9       around and say, but the Court can interpret the first lien

10      credit agreement according to the intent of the parties when

11      it's less conducive for the petitioning creditors or more

12      practical for them to reach a different result.     It doesn’t

13      work that way.

14                  Finally, there are some very significant

15      procedural issues, some of which Mr. Ward touched upon, some

16      of which he didn't, which we believe provide significant

17      problems for the hearing and granting of this motion.       I'll

18      defer those to the end.

19                  The first and most important issue I think that we

20      should address is whether the petitioning creditors are a

21      requisite lender even assuming that no Yucaipa held debt is

22      counted in the denominator.     The American Money debt cannot

23      be counted.     It cannot be counted in the numerator, at least

24      not at this date, not for summary judgment purposes.

25                  Requisite lender status is based on debt holdings.

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1       We heard lots of discussion about voting rights and all

2       kinds of other attributes of the debt, and I will come back

3       to that.     But the first lien credit agreement describes

4       requisite lender as one or more lenders having or holding

5       term loan exposure, letter of credit exposure and/or

6       revolving exposure and representing more than 50 percent of

7       the sum of those three components.

8                    So the question is do the petitioning creditors --

9       because that's who is the movant in this case, the

10      petitioning creditors, Black Diamond and Spectrum -- do they

11      have or hold more than 50 percent of the outstanding first

12      lien debt.     If we exclude all of the Yucaipa held debt, all

13      of it, the denominator in the requisite lender formula is

14      $109,211,840, so 1.92 million.     Thus, the petitioning

15      creditors need to hold 54.6 million of first lien debt to be

16      requisite lenders, but they do not.     What they do hold is

17      $51.9 million of Yucaipa first lien debt, which is less than

18      the 50 percent required.

19                   Let's talk about the AMMC, the American Money,

20      $4.56 million and why it cannot be counted.     It cannot be

21      counted because under the terms of the first lien credit

22      agreement the petitioning creditors do not hold that debt.

23      Under the first lien credit agreement, Section 10.6(d) at

24      page 164, before an assignment of first lien debt is

25      effective, the following steps are required:

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1                   First, there needs to be an execution and delivery

2       of an assignment agreement to the administrative agent;

3                   Then the administrative agent must record the

4       assignment in the register.

5                   Indeed, recordation in the register or lack

6       thereof is "conclusive" on each lender.     And that's Section

7       2.7 of the first lien credit agreement.

8                   So who can record the assignment into the

9       register?    Well, only the administrative agent can enter the

10      transfer in the register.     That's also in the first lien

11      credit agreement at Section 2.7(b).     And assignments only

12      become effective on the effective date and the assignment

13      effective date is the date on which the transfer is recorded

14      in the register.

15                  So since this is a summary judgment motion, let's

16      talk about the facts that are actually undisputed, not

17      desired, but those that are undisputed.

18                  It is undisputed that CIT was the original

19      administrative agent under the first lien credit agreement.

20      It is also undisputed that CIT resigned as administrative

21      agent effective May 19th, 2012.     That is before the

22      purported assignment of the American Money debt to the

23      petitioning creditors.    Only either the administrative agent

24      or requisite lenders may appoint a replacement

25      administrative agent.    Petitioning creditors don't dispute

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1       that.

2                   The petitioning creditors also don't dispute --

3       it's in Mr. Walker's declaration and there's been no --

4       nothing to dispute it -- that no replacement agent was

5       appointed by CIT when it resigned and no replacement agent

6       was appointed in May of 2012 by the requisite lenders.        And,

7       in fact, the petitioning creditors, in Exhibit 9, in a

8       letter from their counsel specifically warn CIT not to

9       appoint a replacement agent, particularly one suggested by

10      Yucaipa because of this dispute over the requisite lender

11      status.

12                  So absent a successor administrative agent, only

13      the requisite lender can then serve as the administrative

14      agent, as a de facto agent.

15                  But the issue of requisite lender hasn't been

16      determined.    That's what this motion is about.   That's what

17      the August 22nd hearing is about.    And without a requisite

18      lender and no administrative agent to record the assignment,

19      then the petitioning creditors cannot hold and do not hold

20      this additional debt.

21                  So what do the petitioning creditors do?   They

22      recognize this is a fatal problem.    So with their motion,

23      first, the petitioning creditors produced redacted documents

24      purporting to support the amount of Allied first lien debt

25      that they hold.    But not even Mr. Ward stood before this

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1       Court and -- and disagreed with the fact that Yucaipa

2       requested all of those documents in the court of discovery.

3                   And what did the petitioning creditors do?      They

4       refused to produce them.     That's in my affidavit, Exhibit 78

5       and 79 are the petitioning creditors' responses to the

6       document product requests.     The -- not Request 37, not

7       Request 142.     Request number 1 was all documents

8       demonstrating and/or supporting their claim to the amount of

9       Allied first lien debt that you hold, and each of the

10      petitioning creditors responded and refused to produce any

11      of that material claiming it was not relevant and no likely

12      to lead to the discovery of admissible evidence.      So we

13      didn't get it.

14                  When is the first time we see this?   We see this

15      with their motion.     But, of course, as the Court knows,

16      parties are not allowed to rely on evidence in support of a

17      motion for summary judgment which they specifically refuse

18      to produce during the course of discovery.     That is black

19      letter law.

20                  Then to compound the problem, the petitioning

21      creditors produce even more evidence with their reply

22      because what we got with their motion was a bunch of

23      redacted stuff.     It doesn't say who they get the debt from,

24      when they got the debt from, where they got it from.

25                  So with their reply, they produced the LSTA trade

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1       confirmations to support the purchase of the AMMC debt, a

2       purported appointment agreement and some joinders.     But,

3       again, they refused to produce that in discovery.

4                    Two, none of this evidence, none of it that was

5       produced with the reply is properly authenticated and, thus,

6       it cannot be considered as a matter of law in support of

7       their motion for summary judgment because it has no

8       evidentiary value.     It is well established in this circuit

9       and every circuit around the country that only admissible

10      evidence may be relied on to support a summary judgment

11      motion.

12                   And for the record, Your Honor, I would point the

13      Court to Rule 901 of the Federal Rules of Evidence, the

14      Philbin versus TransUnion Corp case, 101 F.3d 957 (3rd

15      Circuit).     I would point to a United States Supreme Court

16      case in Atticus versus S&H Crest Company, at 398 U.S. 144.

17      And I could go on.     But the Court is familiar with that

18      principle.     None of these new documents that were refused in

19      discovery were produced.     None of these new documents

20      produced in connection with the reply have been properly

21      authenticated and, therefore, they are not properly before

22      the Court and cannot be considered.

23                   And more -- just as important is this new evidence

24      should also be rejected because, again, it's black letter

25      law in the Third Circuit and everywhere else in the country

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1       that you can't submit new evidence at the reply stage.

2                   And for that proposition, I would point the Court

3       to several Third Circuit cases.    One is Guffy (ph) versus AW

4       Chesterton Co., 2012 U.S. District Lexus 150860.     It's the

5       Eastern District of Pennsylvania case in 2012.     I would

6       point the Court to the decision of Judge Stark here in

7       Delaware in Lab -- Laboratory Skin Care, Inc. v Limited

8       Brands, 757 S. Supp. 2d 431, a 2010 case where Judge Stark

9       specifically struck the new evidence that was submitted by

10      the moving party in support of a summary judgment and,

11      therefore, denied summary judgment.

12                  But even if the Court is prepared to consider this

13      new evidence, which it shouldn't, it doesn't help the

14      petitioning creditors because it still doesn't justify

15      including that American Money debt in the calculation of the

16      petitioning creditors' holdings.

17                  See, petitioning creditors -- and we're going to

18      get to this in a bit -- they recognize the importance of the

19      definitional term "holdings" as opposed to controlling or

20      having support from.    They recognize the importance of that.

21      So what do they do?    They knew they needed to get this

22      American Money debt "recorded in the register."     So to

23      correct the flaw, the petitioning creditors and purportedly

24      American Money entered into an appointment agreement to

25      purportedly appoint affiliates of the two petitioning

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1       creditors to serve as a successor administrative agent, and

2       then they purported to record the American Money debt in the

3       register.

4                    But they put the cart before the horse because the

5       appointment of themselves as administrative agents could

6       only be effective if, in fact, they are requisite lenders.

7       But at the time they did it they were not.      It cannot be

8       disputed that they were not requisite lenders.       Per Mr.

9       Ward's own affidavit with this new evidence, in Exhibit 10,

10      the appointment agreement was purportedly entered into on

11      December 3, 2012.     But they were not requisite lenders at

12      that time unless both of the following are true:

13                   First, the Fourth Amendment was invalidated at

14      that time; and none of the Yucaipa debt holdings were

15      included in the denominator.      Again, I'm going to get to the

16      denominator in a bit because I don't think we even need to

17      get there.

18                   But, you see, on December --

19                   THE COURT:   Why does the Fourth Amendment have to

20      be invalid at that time?

21                   MR. SAUER:   Because if the Fourth Amendment is not

22      invalidated, if the Fourth Amendment remained in effect,

23      then Yucaipa was the requisite lender.      And so the

24      petitioning creditors and American Money couldn't have been

25      requisite lenders.

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1                   THE COURT:   The Fourth Amendment was never -- the

2       Fourth Amendment was never applicable, was never valid.

3                   MR. SAUER:   Your Honor, the Fourth -- the Fourth

4       Amendment was valid until it was deemed invalid.

5                   THE COURT:   But how can that be because the whole

6       point that Justice Ramos makes in finding it invalid is that

7       it was a violation of the Third -- Third Amendment as well

8       as the other -- the other issues that arise from the initial

9       -- there's a difference between when the judge says

10      something and when it actually happens.

11                  And, for example, with your point about they are

12      not the requisite lender until, I guess, I say they are,

13      that's not the same -- that's not really necessarily true.

14      If I say there's a requisite lender, that really means they

15      always were.    And if I say the Fourth Amendment is invalid,

16      it really means it never was valid.

17                  So I -- I don't -- I don't understand your point

18      that -- about why it basically existed or was valid until it

19      was invalid.

20                  MR. SAUER:   Well, Your Honor, I guess I would

21      respectfully disagree.     If you have a contractual provision

22      that is enforced, it's enforced until the Court says it can

23      no longer be enforced.     I understand the Court's point.   I

24      think I just respectfully disagree.

25                  THE COURT:   Okay.

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1                   MR. SAUER:     And just to sort of continue this --

2       this line, but it -- not -- not that it necessarily matters

3       because at the end of the day we can't include the American

4       Money debt --

5                   THE COURT:     Right.

6                   MR. SAUER:     -- in this calculation because new

7       evidence, not permitted, evidence refused to produce in

8       discovery, not permitted.

9                   In any event, to finish the line out, Justice

10      Ramos's decision was not entered and final until March of

11      2013, March 29th of 2013, four months after this purported

12      appointment agreement and his oral inclinations indicated on

13      November of 2012, a matter of New York law, which is the law

14      that matters when you are determining the preclusive effect,

15      only a final decision has any collateral estoppel or

16      preclusive effect.       And we've cited those cases to the Court

17      before.

18                  The -- for example, Eggbert (ph) Square Realty

19      versus 112 114 Corp at 93 A.D. 3d at 687, a New York

20      Appellate Division case in 2012 reversing the grant of a

21      motion to dismiss counterclaims because the issue preclusion

22      had been based on a decision on which no formal enter had

23      yet been entered.    And several other cases, Church versus

24      New York State Freeway Authority, 16 Atlantic A.D. 3d at

25      808, another 2005 New York Appellate Division case, and a

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1       series of others.

2                     And, again, since Justice Ramos didn't issue his

3       decision until March 29th, nearly four months after, that

4       appointment agreement was invalid.

5                     But, again, I still come back to the fundamental

6       proposition.      We are here arguing the motion for summary

7       judgment wholly founded on documents that the petitioning

8       creditors refused to produce in the course of discovery, and

9       then compounded the problem by producing yet more

10      unauthenticated inadmissible evidence in support of their

11      reply.

12                    Now petitioning creditors come here also and say,

13      well, why don't you consider petitioning creditors and

14      American Money to be the movants here.         You can't do that.

15      American Money is not a movant.         This is the petitioning

16      creditors' motion.         American Money isn't even before the

17      Court.      While they were named in the Allied adversary, they

18      haven't even filed an appearance yet.         They're not a proper

19      party to this motion and I don't believe petitioning

20      creditors are permitted, substantively or procedurally, to

21      now add them in an effort to get over some problem that the

22      petitioning creditors created for themselves.

23                    So at the end of the day --

24                    THE COURT:     Well, they don't necessarily have to

25      be a movant to be considered a requisite lender.         The movant

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1       can argue that -- purportedly it could argue that creditor

2       -- Movant A could argue that creditors A, B and C together

3       constitute the requisite lenders.     It doesn’t need to be

4       necessarily that Creditor A, B and C move that -- to -- to

5       appoint -- or that A, B and C were requisite lenders.

6                   However, I take your point that we don't know

7       about B or C unless --

8                   MR. SAUER:   But more -- fair enough.

9                   THE COURT:   -- unless you look at the -- what you

10      call the new evidence.

11                  MR. SAUER:   Well, and more importantly, the motion

12      isn't that petitioning creditors, along with American Money,

13      are requisite lender.     It's very specifically styled that

14      they are.

15                  THE COURT:   Uh-huh.

16                  MR. SAUER:   But, again, however one looks at it,

17      it's all based on denied evidence --

18                  THE COURT:   Uh-huh.

19                  MR. SAUER:   -- and newly produced evidence which

20      is simply improper.

21                  Next -- in any event, let's get to the

22      denominator.    You don't exclude all of the Yucaipa held debt

23      from the denominator.     So even if one were to include the

24      4.56 million in American Money debt in the denominator, even

25      if you include it, the petitioning creditors and with the

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1       American Money debt are not requisite lender.      Again,

2       petitioning creditors argue that the first lien credit

3       agreement is unambiguous and that unambiguous contractual

4       provisions should be determined as a matter of law by the

5       Court.

6                   Again, the first lien credit is crystal clear.

7       Requisite lenders are based on a determination of holdings,

8       not voting rights, not other attributes of the debt.        I will

9       come to that.     I -- it sounds a little counter-intuitive,

10      but not under the terms of these -- of these credit

11      agreements.     It would have been very easy, very easy for

12      these lenders, whether at the outset, in conjunction with

13      the Third Amendment or any other time to make it very clear

14      that requisite lender determinations are based on something

15      other than holdings, or to have specifically said anything

16      they could have said to make it clear, not a practical

17      result, but to make it clear that a restricted sponsor

18      affiliate could not be requisite lender.     They did no such

19      thing.

20                  So what does Yucaipa currently hold?    Well, let's

21      -- let's put aside the settlement which, obviously, hasn't

22      been approved yet.     So today Yucaipa currently holds $114

23      million in term loans and $20 million in letter of credit

24      exposure.     For my argument, I'm only going to focus on

25      letter of credit exposure because the balance of the term

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1       loans also follows suit.     But let's -- let's focus on the

2       $20 million of letter of credit exposure.

3                    Adding $20 million that denominator increases it

4       to $129 million and, thus, not even the 56.4 million that

5       petitioning creditors claim to hold is more than 50 percent.

6       Yes, the petitioning creditors argue that the Third

7       Amendment precluded Yucaipa from acquiring the letter of

8       credit exposure; that it acquired it under the invalid

9       Fourth Amendment.     But, first, I would point out there's a

10      disputed issue of fact even on the application of the Third

11      Amendment in this regard.     And petitioning creditors do not

12      dispute any of these undisputed facts.     Why?    Because they

13      are based on their client's own documents.

14                   Exhibits 11, 25, 36 and 37 to my declaration,

15      these are e-mails and handwritten notes of the petition

16      creditors.     And not even the petitioning creditors believe

17      that the time that the third amendment was an impediment to

18      Yucaipa, who was not a party to the agreement.

19                   I know we've heard over and over again, the mantra

20      is that Yucaipa negotiated the third amendment, they're

21      bound by the terms of what they negotiated.       But that simply

22      isn't the truth, and it's never been the truth.       Mr.

23      Walker's declaration at paragraph 9 submitted in conjunction

24      with this opposition, which petitioning creditors haven't

25      disputed, makes clear that yes, Yucaipa did participate

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1       early on in those discussions over a third amendment.          But

2       there came a time when the demands of the lenders became so

3       onerous that they just walked away, and moved on to a third

4       amendment to the second lien agreement.

5                   And I only raise that because we've heard

6       repeatedly about Yucaipa is bound by the terms they

7       negotiated.    At the end of the day, these were lender

8       imposed terms that Yucaipa never agreed to.

9                   Putting that aside --

10                  THE COURT:   Are you talking about the first lien

11      debt?

12                  MR. SAUER:   Yes, Your Honor.

13                  THE COURT:   That came out of the bankruptcy?       That

14      came out of the bankruptcy?

15                  MR. SAUER:   No, no.    Yucaipa -- we're talking

16      about the first lien debt that Yucaipa currently holds.          The

17      -- we're talking about the third amendment to the first lien

18      credit agreement.

19                  THE COURT:   Right.

20                  MR. SAUER:   And what we heard Mr. Ward say, we've

21      heard repeatedly said in this court that it was Yucaipa who

22      negotiated the terms of that third amendment.       All I'm

23      telling you is, that for the purpose of summary judgment,

24      there's a very significant factual dispute as to that.

25                  So if someone is inclined to say, well, I might

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1       not otherwise hold a non-party to that amendment to its

2       specific terms, I will hold Yucaipa to those terms, because

3       Yucaipa was a moving force, and negotiated the terms, and

4       I'm telling you they didn't.     And at a minimum, there's a

5       disputed issue of fact as set forth in Mr. Walker's

6       declaration at paragraph 9.     That's exactly what happened.

7                   They started the negotiations, the lenders began

8       to impose more and more onerous restrictive terms, in terms

9       of the amount of debt they could buy, the -- whether it had

10      to be contributed, or could be contributed as opposed to

11      mandatory -- the restrictions on the voting rights.      At some

12      point early on in those negotiations, Yucaipa said, you

13      know, finish -- you guys can do what you want --

14                  THE COURT:   And then starting negotiating with

15      ComBest.

16                  MR. SAUER:   No, no, no.   That -- Your Honor, that

17      doesn't come for a year later.     That's a year and a half

18      later.

19                  THE COURT:   When does the third amendment get --

20                  MR. SAUER:   Let me walk through the timeline.

21      Allied exits from bankruptcy in May, early June of 2007.

22      The third amendment comes into play in mid-April of 2008.

23      In February of 2009, ComBest acquires the 54.7 percent of

24      the Allied debt.    On August 21 of 2009, a full year and a

25      half after the third amendment, Yucaipa acquires the

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1       position from ComBest.     And that's when the fourth amendment

2       is passed in August of '09.

3                   THE COURT:   So the third amendment was passed?

4                   MR. SAUER:   April of '08.     A year and a half

5       before Yucaipa acquired the debt.

6                   THE COURT:   Okay.     Yucaipa stopped talking in

7       connection with that amendment or --

8                   MR. SAUER:   The negotiations, as Mr. Walker

9       indicates in his declaration, lenders approached Yucaipa

10      about the possibility of their acquiring some of their debt.

11      Negotiations over the third amendment commenced really in

12      late March of 2008, and Yucaipa walked away from those

13      negotiations effectively in the end of the first week of

14      April or so.

15                  THE COURT:   Uh-huh.

16                  MR. SAUER:   And then the terms of the third

17      amendment to the first lien credit agreement were then

18      pursued by the lenders and Allied, and on terms that were

19      restrictive for Yucaipa's appetite, so they no longer

20      participated in the discussions.

21                  But what Yucaipa did do, was continue to negotiate

22      for a third lien -- third amendment to the second lien

23      credit agreement, which then allowed them to buy second lien

24      debt without restriction.

25                  THE COURT:   All right.

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1                     MR. SAUER:   Which they did, and then contributed

2       most of what their -- or half of what they acquired back to

3       the capital of the company.

4                     THE COURT:   Okay.

5                     MR. SAUER:   So back to the denominator.   Why do we

6       include at a minimum a letter of credit exposure.        Let me --

7       I'm sorry, let me go back to the third amendment and the

8       petitioning creditors.

9                     Their own views at the time, and as we know in

10      interpreting contracts, it's often times the views expressed

11      by the parties at the time, which are the best evidence of

12      their understanding and intent, not what they say later on.

13                    Well, we know in December of 2008 that Spectrum

14      Principles wrote to each other in December of '08.        We have

15      gone three or four ideas on how to block or stop the trade

16      to Yucaipa, when the third amendment was in effect, had a

17      block or stop the trade from being 51 percent.       None seemed

18      viable when we talked them through.

19                    We also know that Spectrum, one of the petitioning

20      creditors was among a group of creditors who in December of

21      2008 had negotiated to sell their debt to Yucaipa.        It's

22      Spectrum.      One of the petitioning creditors was part of the

23      group.      We've submitted the evidence, it's undisputed.

24                    Then in February of 2009, after Black Diamond had

25      determined that they had been excluded from those lenders,

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1       then negotiating with ComBest to sell their debt, who did

2       Black Diamond turn to?       They turned to Yucaipa, and asked to

3       partner with Yucaipa to buy the debt in a joint bid.

4                     So my only point here --

5                     THE COURT:   And what is it that you would deem

6       ambiguous in the documents that would make all of that

7       relevant?

8                     MR. SAUER:   Well, I think it goes to the intent of

9       the parties --

10                    THE COURT:   All right.

11                    MR. SAUER:   -- which is ultimately the touchdown.

12      Because we're --

13                    THE COURT:   But the intent of the parties is, in

14      the first instance, if possible, gleam from the four corners

15      of the document.

16                    MR. SAUER:   That is always the first step, Your

17      Honor.

18                    THE COURT:   Right.

19                    MR. SAUER:   But here, when the clear understanding

20      of the parties, particularly the parties moving expressed at

21      the time a very different view, I'm not so sure that

22      language which purports to be clear on its face is this

23      clear.      But let's get past that, because I don't want to get

24      bogged down in more of the minutia, because at the end of

25      the day, let's stick with the very expressed terms of the

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1       third amendment.

2                   Let's talk about just the 20 million in letter of

3       credit exposure.    And now we get into the applicability of

4       New York law on this issue.    Well, we heard lots of

5       discussion from Mr. Ward about well, this case is

6       distinguished because it didn't involve a credit agreement.

7       Oh, and this case is distinguishable because it didn't have

8       Allied in the name, or some such thing, if these were

9       personal services contracts.

10                  At the end of the day, at the end of the day, New

11      York law is crystal clear, and petitioning creditors have

12      cited not a single case to the contrary.    I will come to the

13      one case they did cite, because they misrepresented to the

14      Court exactly what that Court said.

15                  Under New York law, first, the courts look to

16      determine whether or not an assignment is prohibited.       If

17      you don't get past the first prong, you never have to worry

18      about the next, because if the assignment of the contractual

19      right or obligation is not prohibited, there's nothing to

20      debate about.

21                  But if, if the language of the contract is clear

22      that a particular form of assignment, type of assignment, or

23      an assignment to a particular person is prohibited, when the

24      Court looks to determine, okay, it's a prohibited

25      assignment, but does that make the assignment invalid or

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1       void, and for that, the courts look for very specific

2       language in the contract, whether it says, any prohibited

3       assignment is void, or it is invalid.

4                   I'm not making this up.   We've cited eight, nine,

5       ten New York cases, federal cases, state cases, bankruptcy

6       court cases, all of which cite that very same proposition.

7       The petitioning creditors purport to claim that Praven (ph)

8       is the central case.     No Praven is just one of the cases

9       that relies on the fundamental decisions of New York state

10      courts for this proposition.

11                  They purport to distinguish Praven on the grounds

12      that -- or sorry, they purport to distinguish Praven on the

13      grounds that the particular contract wasn't fully

14      exclusionary.     It said, you can only assign to financial

15      institutions, and there the assignee in that case was a non-

16      financial institution.

17                  So what the Court said in Praven, when one reads

18      it thoroughly, is that gee, the complaining parties to the

19      contract couldn’t get over the first hurdle.     The first

20      hurdle being that the assignment was prohibited in the first

21      instance.     But the Praven court did very clearly endorse and

22      cite the New York case law I've identified, that there are

23      two prongs.

24                  First, is the assignment prohibited, and if it's

25      clearly prohibited to, is it invalid or void under the

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1       specific terms.

2                     THE COURT:   Right.     Now, you wouldn't argue with

3       me that the assignment was prohibited?

4                     MR. SAUER:   I am not sitting here arguing with you

5       today, Your Honor, that Yucaipa was an eligible assignee.

6       There's no question that under the original first lien

7       credit agreement, or even as it relates to term loan

8       exposure and -- not term loan, but the LC exposure, that

9       they were a not eligible assignee.          So they clearly can

10      overcome the first hurdle.          But they cannot overcome the

11      second hurdle, and they must overcome both.

12                    They haven't cited a single case, not a single

13      case, which contravenes New York law, which is applicable to

14      the interpretation of this credit agreement by its own

15      terms.      They just haven't.      The only case they do cite, and

16      you know, we do have the 785 Partners' case which is a

17      federal bankruptcy case from the Southern District of New

18      York, which is quite frankly very close here.          Because first

19      we heard from petitioning creditors, but none of the cases

20      they cite really contain complicated credit agreements.

21      Well, 785 Partners does.

22                    And there, what the bankruptcy court determined

23      was I don't have to decide whether the particular assignee

24      in that case was an ineligible assignee because I don't have

25      to worry about the first hurdle, because they couldn't clear

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1       the second piece, because there's nothing in that credit

2       agreement which says the prohibited assignment is void.

3       Those are the words, or words to that effect.     It wasn't

4       there, it's not in this credit agreement, it's not in the

5       third amendment, New York law applies.

6                   The only case they do cite is the Baucus (ph)

7       case, Single Asset Financial Co. versus Baucus at 294 AD2d

8       818.   But that case doesn't change New York law, it doesn't

9       reverse New York law, it actually cites the law I've been

10      citing to the Court.

11                  The full quote that petitioning creditors didn't

12      put in their brief, or again read today is, where they

13      clearly stated intent to render Baucus powerless to assign,

14      their words, no need for the non-assignment clause to also

15      contain talismanic language or magic words describing the

16      effect of any attempt to make such an assignment.

17                  They left out where they clearly stated intent to

18      render Baucus powerless to assign.     They left that out.

19      Why?   Because in that particular agreement, the purported

20      assignor didn't have any power to assign, it was very clear

21      from the contract.     Here, all the first lien credit

22      agreement says is, restricted sponsor affiliate isn't an

23      assignee.    The lenders shouldn't sell to a restricted

24      sponsor affiliate.     But that's no different than the other

25      8, 10 or 12 cases we've cited where the contract

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1       specifically provided you can't assign without consent, you

2       can't assign to this party, you can't assign to anybody.

3                    That language is no different than those other

4       cases, and in every one of those cases, the New York courts

5       have said, absent the voiding language, the assignment is

6       valid and effective, and the assignee takes the rights that

7       go with the contractual obligations assumed.

8                    What it leaves them with is a breach of contract

9       claim against the assignor who violated the terms of the

10      agreement, but we're not here to decide that.

11                   So at the end of the day, at a minimum --

12                   THE COURT:   So explain to me perhaps again okay,

13      the -- Yucaipa is not a party to the amendment.      Yucaipa was

14      not an eligible assignee, but nonetheless was the recipient

15      of the assignment, but having done that, why is it -- if you

16      could just restate it for me, why is it that in that

17      instance, the provisions of the third amendment that would

18      limit Yucaipa from being considered in the numerator or the

19      denominator in figuring out who the requisite lender is.

20      Does that make any sense?      You can't answer a question

21      that doesn't make any sense.

22                   MR. SAUER:   Well, Your Honor, let me try to

23      interpret your question.      If I interpret it wrong, I

24      apologize.

25                   THE COURT:   My point is, okay fine, everything you

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1       said is right, right, they weren't a party, they were not an

2       eligible assignee, they took it anyway, but that's sort of

3       the end of the day, and we don't apply all of the other

4       provisions that arguably they apply, that would make

5       Yucaipa, you know, not in the ballgame.

6                   MR. SAUER:   I understand that, and fully prepared

7       to address that question, which I believed I understood the

8       first time.

9                   THE COURT:   Okay.

10                  MR. SAUER:   Here's the fundamental confusion

11      that's been created by petitioning creditors.     And we heard

12      it again repeatedly today when petitioning creditors tried

13      to define what the third amendment does.

14                  Again, if we go back to the first lien credit

15      agreement to the term requisite lender, which has not been

16      modified, it is lenders having or holding.     Having or

17      holding, it has nothing to do with any other attributes of

18      the debt.

19                  So what the petitioning creditors then say, but

20      even if they could hold it, it can't be counted towards

21      requisite lender status, because that's what the third

22      amendment says, and they cite the third amendment 2.1(e)

23      which redefines the term, term loan exposure.     And then they

24      go on to paraphrase it and say, that it says, term loan

25      exposure that has been acquired by a restricted sponsor

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1       affiliate, Yucaipa, can't be counted for requisite lender

2       status.      That's what they say.

3                     That is, however, not, not what that definition

4       reads.      The definition says, "With respect to any provisions

5       of this agreement relating to the voting rights of lenders,"

6       has nothing to do with holdings, nothing to do with

7       requisite lender calculation, paren, "including the right of

8       lenders to consent or take any other action with respect to

9       any amendment, modification, termination, or waiver of any

10      of this provisions, or the provisions of this agreement, or

11      the other credit documents, or consent to any departure."

12                    So what it says is, that any term loans acquired

13      by Yucaipa couldn't be counted for voting purposes, to the

14      extent they purported to try to amend the credit documents,

15      that's what it says.      It doesn't say anything, anything at

16      all about how Yucaipa held restricted sponsor affiliate debt

17      to be more precise, how that debt, or whether that debt was

18      to be counted in the definition of requisite lender status,

19      and in fact, again, it's very easy if that really was what

20      they were getting at, and these were all sophisticated

21      parties.      All they had to do is say, any restricted sponsor

22      affiliate, term loan exposure acquired cannot be counted or

23      included for any purpose under the first lien credit

24      agreement or words to that effect.        They didn't.   They were

25      very specific, very specific.        That the exclusion of Yucaipa

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1       held debt, term loans, particularly because that's all we're

2       talking about under that provision, are excluded from the

3       voting provisions, not from the holding provisions.

4                   And if it's not excluded from the holdings, even

5       the term loans have to be included in the denominator, but I

6       wasn't even going there because the third amendment only

7       speaks to term loan exposure.    It doesn't speak to letter of

8       credit exposure, and that's where we rely in the first

9       instance on the applicable provisions of New York law, which

10      says, even if they weren't supposed to get it, if they got

11      it, they get all the attributes that normally goes with it.

12                  And so they get to hold it, they would even get to

13      vote, the letter of credit exposure.     But again, we're not

14      there, we're just talking about the requisite lender

15      definition, and if that 20 million is included in the

16      denominator, even giving petitioning creditors credit for

17      the American money piece, 56 point whatever million divided

18      by 129 doesn't equal 50 percent.

19                  Now, that could lead what some might argue is a

20      potentially problematic result, and that is, well, gee, then

21      maybe there's no requisite lender.     But there's no

22      requirement that there be a requisite lender under the

23      credit agreement.    There's no requirement that requisite

24      lenders, holding 50 percent or more of the debt agree on

25      entry.

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1                     In fact, one of the biggest problems Allied had

2       after emerging from bankruptcy was this functional lender

3       group.      They couldn't get requisite lenders to agree that

4       today was Tuesday.      They just couldn't.

5                     So there is no requirement that you have a

6       requisite lender.      I mean, it's no different than if there

7       are only three lenders, two of whom held 49 percent, 1 of

8       them who held 2 percent, and neither one of them could ever

9       get to the 2 percent on their side.      That's just a function

10      or a fact of the credit agreement.

11                    So how does that get resolved?   Well, it gets

12      resolved as follows.      If Yucaipa actually gets to hold the

13      debt, all of the debt, even if it can't vote the debt, that

14      doesn't necessarily mean Yucaipa is the requisite lender

15      because of its holdings, and Yucaipa doesn't need to vote or

16      to do anything, because under the terms of this credit

17      agreement, which petitioning creditors say is clear and

18      unambiguous, again, it's going to sound counter intuitive, I

19      struggled with it.      But when you go to the credit agreement,

20      provision-by-provision, this is the conclusion you get to

21      based on the unambiguous terms.

22                    The lenders have to vote irrevocably authorize the

23      administrative agent to exercise certain powers delegated to

24      it, including the power to exercise remedies, such as a

25      credit bid.      If no successor agent is appointed, then the

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1       requisite lender acts as the de facto administrative agent.

2                     But the requisite lender doesn't need to vote to

3       do anything.      Requisite lenders if there were others, they

4       can direct the agent not to do certain things, but the

5       administrative agent, or in this case, a requisite lender

6       standing in the shoes of the administrative agent doesn't

7       need to vote, doesn't need to consent, he has already been

8       delegated the action under the terms of the credit

9       agreement.      That's -- when you read Section 9.29.7 and

10      9.8(b) together, that's exactly where you come out.

11                    So Yucaipa actually could be requisite lender, and

12      could for example, credit bid or exercise remedies if it

13      chose to do so.      Not as a lender, but as the administrative

14      agent.      I didn't write the credit agreement, but that's how

15      it reads, and that's what it says.      And that's just --

16      that's the consequence of this unambiguous credit agreement

17      that we're here to argue about.

18                    But again, I'm not here asking this Court to

19      determine that Yucaipa is a requisite lender.      We're

20      actually here today to talk about the petitioning creditors,

21      and they are not, for the reasons we've discussed.

22                    But let's turn briefly to Justice Ramos' decision

23      because Mr. Ward spent a lot of time on it.      We do not

24      believe, and we said so in our opposition that Justice

25      Ramos' decision should be given collateral estoppel effect

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1       because Yucaipa was denied discovery, the opportunity to

2       conduct any discovery in that case.      That's undisputed.

3       Nobody says we had the opportunity to conduct discovery.

4       There's been no dispute about that.

5                    And we've cited a number of cases at page 32 of

6       our opposition, where the courts have specifically held that

7       collateral estoppel should not be applied under these very

8       circumstances, where the party who is the target of this

9       preclusive order was denied the opportunity to undertake

10      discovery.     And the petitioning creditors have undertaken no

11      effort whatsoever to distinguish any of the cases.      But they

12      do cite in a footnote, the Cronish (ph) case that Mr. Ward

13      referred to.

14                   And I would ask the Court when you have a moment

15      or your clerks, if they haven't, read the Cronish case.         See

16      if it says what the petitioning creditors claim it says in

17      their reply.

18                   What the Cronish case says, it's unpublished, but

19      what it does say, it doesn't say that a party who -- against

20      who summary judgment is granted has been deemed to have been

21      given a full opportunity to litigate, even though they were

22      denied discovery.     All it says is, if you lose on summary

23      judgment, that still constitutes an opportunity to litigate,

24      it doesn't address --

25                   THE COURT:   Whether or not I give it preclusive

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1       effect in connection with this summary judgment motion,

2       assuming there are no material disputed facts, et cetera,

3       that would stand in its way, I could make the very same

4       holdings that Black Diamond is arguing, have already

5       remained and can't be undone.

6                    MR. SAUER:   You could, but let me tell you why you

7       wouldn't, because on certain disputed issues of fact, and

8       these are just among the kinds of things that would have

9       been discovered in the New York case, had Yucaipa been given

10      an opportunity to conduct discovery, which they were not.

11                   So let me now convince you that there are disputed

12      issues of fact on this very issue.      One, we know, as a

13      matter of undisputed fact, it's in my declaration and a

14      whole series of exhibits, a majority of the first lien

15      lenders including Spectrum were prepared to sell their debt

16      to Yucaipa in December of 2008, and to sign a fourth

17      amendment removing all the restrictions of the third

18      amendment.     They were prepared to do that.

19                   The only reason why they didn't do it was because

20      one of the provisions of that new fourth amendment also

21      would've reduced or relaxed their financial covenants, which

22      were hamstringing Allied, and those lenders at the last

23      minute after agreeing on price and other terms, said, gee,

24      we'd like Yucaipa to indemnify us because of the covenant

25      restrictions.     Not because of the elimination of the

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1       restrictions of the third debt.      You don't have to believe

2       me and take that as a given at this point, but we've put

3       evidence in front of the Court, the kind of evidence that

4       would've been discovered in New York, but which Yucaipa

5       wasn't allowed to gather or produce.

6                     There is a letter from CIT sent to all of the

7       lenders in February of 2009, after -- what had happened was

8       just chronologically in December of 2008, a bunch of lenders

9       come to Yucaipa and asked them to buy their debt.       Because

10      what had happened was, there had been negotiations to amend

11      the credit agreement after Allied went into a covenant

12      default in August of 2008.

13                    When no amendment could be reached, lenders come

14      to Yucaipa and say, please get us out of this because the

15      auto industry continues to spiral down, we read every day

16      that Chrysler and GM are on the verge of filing for

17      bankruptcy, and we don't see this credit as a particularly

18      good one, take us out.      This is the ineligible assignee

19      they're talking to.

20                    So they go through all this process, at the last

21      minute literally on December 26th, 2008, some of the

22      participating lenders in this group say we need an

23      indemnity.      Well, Yucaipa balks at the indemnity.   Then not

24      having heard from this group, Yucaipa launches a tender

25      offer.      At the same time that now ComBest is out there

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1       trying to buy this debt unbeknownst to Yucaipa.

2                   So they launch a tender offer, which includes a

3       fourth amendment.    CIT, and that's attached to my

4       declaration, sends a letter to Allied/Yucaipa and the other

5       lenders saying, we don't believe this fourth amendment that

6       you're proposing could be valid as it relates to changes to

7       the administrative agent powers and duties without our

8       consent, but as to the rest, they recognized it only needed

9       requisite lender consent.    I didn't write that.     CIT did,

10      the administrative agent, and the sole holder of the

11      revolving debt.

12                  In August of 2009, after Yucaipa acquires the

13      ComBest position, CIT in their own internal memo, they

14      discuss this very same concept and recognize that while some

15      of the provisions of the fourth amendment might be invalid

16      as they affected the role of administrative agent, the

17      balance of the fourth amendment was probably effective and

18      nothing we can do about it because all they needed was

19      requisite lender consent.    These are the lenders who are

20      writing these things.

21                  We know, for example, that after -- there's a

22      tremendous volume of information in the Black Diamond

23      documents in particular, where after Yucaipa acquires the

24      ComBest position, where Black Diamond and Yucaipa are

25      working together, and presumptively assumes Yucaipa's

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1       requisite lender position.      After the Georgia action was

2       settled in December of 2011, Yucaipa then acting as

3       requisite lender, asks to have released a large amount -- 30

4       or so million dollars or $25 million or so of letter of

5       credit exposure, which they only could have done if they

6       were requisite lender.      That money was disbursed to all the

7       creditors holding letter of credit exposure, including the

8       petitioning creditors.      They were very happy to take that

9       money verifying Yucaipa's requisite lender status, and then,

10      and I know at one point the Court said they didn't think

11      this was particularly relevant, but it would've been

12      relevant to Justice Ramos.      When just a few doors down in

13      his own courtroom, Black Diamond was arguing the exact

14      opposite of what they were arguing in front of Justice

15      Ramos.      They were the borrower in the Commerce Bank case; as

16      the borrower, where they were prohibited under their own

17      credit agreement from buying the debt.      They bought it.

18      They had the seller amend the credit agreement to do a lot

19      of things right before they bought it.

20                    I'm not going to bore with you, it's all in my

21      declaration, all in the exhibits.      Again, that kind of

22      discovery I'm not sure how it would affect this Court, but

23      most judges would not be happy to know that one party is

24      standing before it pounding the gavel and arguing about how

25      horrible that Yucaipa was behaving in this massive conflict

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1       of interest, when down the hall, in the very same court, at

2       the very same time, they argued just the opposite, just the

3       opposite.

4                    Anyway, that's the kind of discovery, some of the

5       kind of discovery that would've been determined in the New

6       York case.

7                    There's been some discussion about whether or not

8       this Court has determined that the third amendment was valid

9       in the first instance.     We don't believe it has, because

10      while we spend a lot of time talking about what this Court

11      ruled in connection with the motion to dismiss, I would

12      point out to the Court that for the purpose of that motion,

13      Yucaipa assumed the third amendment was valid.     We were

14      arguing about the covenant not to sue, we were arguing about

15      statues of limitations.     There was no discussion about that

16      the third amendment was invalid during those hearings.        Why,

17      because that would've created all these other issues of

18      fact, that was a motion to dismiss, one.

19                   Number two, an interlocutory order isn't entitled

20      to law of the case.     We've cited a plethora of cases in our

21      opposition for that point.

22                   And in any event, as the Court is I'm sure aware

23      and we've cited the cases at page 34 in our opposition, even

24      if, even if this Court had ruled on the validity to the

25      third amendment, which it was never asked to do, but even if

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1       it had, that was in a motion to dismiss under a much less

2       exacting standard.    And the McKenzie court and others that

3       we've cited makes it clear, that a holding on a motion to

4       dismiss does not -- I'm quoting, does not establish law of

5       the case for the purposes of summary judgment.      It's a very

6       different, more difficult standard.

7                   Is the third amendment valid in the first

8       instance, we think that there's a very strong argument that

9       it's not.    Justice Ramos made his ruling based on the

10      changed definition of term loan exposure.     That very

11      definition was changed in the third amendment.      With a

12      minimum, there was a disputed issue of fact, as to the

13      validity of the third amendment, and what these very

14      petitioning creditors believed at the time.

15                  They come before you now and say, yes, but you

16      only need unanimous under consent when you have affected

17      lenders under Section 10.6(b) or 5(b), I apologize for not

18      having the specific reference.    But at the time, both

19      petitioning creditors claim they were affected, and in fact,

20      Black Diamond wrote in their own notes, they believed the

21      third amendment was not effective because it didn't have 100

22      percent vote.    I didn't write that.   They did.

23                  Spectrum didn't support and didn't sign on the

24      third amendment because they believed in the bankruptcy

25      process that regardless of what the third amendment said,

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1       that Yucaipa would get to hold and to vote its debt,

2       Exhibits 14 and 15 to my declaration.     These are Spectrum

3       generated materials.

4                   Black Diamond didn't support it because Mr. Urlich

5       (ph) who's on the phone said, "It was too dangerous."      And

6       then Black Diamond wrote, as I mentioned in December of

7       2009, that it believed the third amendment was not effective

8       because it needed 100 percent vote.     These are the words and

9       actions of the petitioning creditors.

10                  So these facts alone, none of which were

11      discovered in the New York case, none of which have yet been

12      presented to this Court, these disputed facts alone would

13      suggest there's a triable issue, on the validity of the

14      third amendment.

15                  At the end of the day, petitioning creditors do

16      not get to count the American money debt in the numerator,

17      and at least, if some, if not all of the Yucaipa debt should

18      be counted in the numerator.

19                  Now, briefly, let me turn to a couple of

20      procedural issues.     We don't believe this motion is

21      appropriate in the first instance.     All that was discussed

22      in the amended scheduling order, and it's a practical matter

23      before this Court on June 19th, was trying this issue, if

24      there was an issue to be tried on August 22.

25                  The motion for summary judgment is a possibility

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1       was raised by Mr. Harris when he asked the Court, if the

2       Court might have some time at the end of the month to hear a

3       motion for summary judgment if one could be fashioned.           And

4       the Court said maybe the last week of July, I'm not

5       available on the 31st.     I've got a pretty good memory

6       without the transcript.     But no one, even in the amended

7       scheduling order ever unbundled this issue from a claim

8       before the Court.

9                    Now, petitioning creditors say yes, but the

10      validity of the third amendment or the applicability or the

11      determination of records at lender status is directly

12      applicable to the Allied adversary.      But Yucaipa no longer

13      has any affirmative claims in the Allied adversary.        The

14      petitioners don't have any cross claims in the Allied

15      adversary.

16                   So what they're effectively doing is seeking to

17      bind Allied to the decision of Justice Ramos, except they

18      can't do it.     Because one of the principle foundations of

19      collateral estoppel is that the party must have been before

20      the Court.     They were not.   They weren't in privity with

21      Yucaipa at the time, and privity by definition is a question

22      of fact.

23                   Now, we also know that as a matter of bankruptcy

24      law, and I apologize for referencing bankruptcy law, because

25      that's not my primary forum, but my understanding of

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1       bankruptcy law is that the debtor has scheduled Yucaipa's

2       debt as uncontingent, as due and owing, and that that

3       constitutes an admission of the debtors.     Maybe the debtors

4       at some future point said, oh, we believe petitioning

5       creditors are potentially requisite lender, but we have an

6       admission currently on the records of this Court that

7       Yucaipa's debt has been fully scheduled is non-contingent.

8                   Next, petitioning creditors argue that the

9       requisite lender determination is integral to their quote,

10      equitable subordination claim, or an equitable subordination

11      claim that can be filed.    But again, we don't know what's

12      going to happen with the settlement with the committee.        If

13      the committee's settlement is approved, the committee

14      complaint goes away.

15                  They rely on the Cencru (ph) decision of Judge

16      Shannon, to suggest that under Rule 56, you don't need to

17      tie an issue on summary judgment to a claim.     They say Judge

18      Shannon said that in the Cencru case.    Again, I would

19      encourage the Court to read that case, that's not what Judge

20      Shannon said.

21                  In Cencru, Judge Shannon properly noted that with

22      the amendments to Rule 56, a motion for summary judgment

23      didn't have to dispose of the entire case.     But that a

24      motion for summary judgment could address a single claim or

25      issue directly related to the claim, but nowhere does he

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1       suggest or could he under the terms of the rule, that a

2       motion for summary judgment can be filed on an issue of

3       interest to a party, that's not tethered to a specific

4       claim.

5                   Finally, we've talked a lot about discovery here.

6       There is no question, there's no question that we requested

7       depositions for the purposes of this motion.     I know Mr.

8       Ward takes a different view of what was said on the

9       conference call on June 21, and I'm not going to ask the

10      Court -- I'm not going to call the other witness to that

11      phone conversation to the stand, and I'm not going to ask

12      the Court to take on the unpleasant task of trying to decide

13      whose declaration is true, I'm not going to ask you to do

14      that.

15                  But Exhibit 78 and 79 of my declaration couldn't

16      be more clear that we wanted depositions; we weren't allowed

17      to have them.    It can't be any more clear that we requested

18      the very documents which form the foundation of the

19      petitioning creditor's claim to account for the American

20      money, $4.56 million, and they refused to produce it in

21      discovery, and then produced most of the important stuff on

22      their reply, which they cannot do.

23                  Final word.   I know Mr. Ward says that this is not

24      an effort to get around the three year statute of

25      limitations, but it clearly is.     The only way the

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1       petitioning creditors can be requisite lender is if the

2       third amendment is specifically enforced against Yucaipa.

3       That is the only way.     And that effort is barred by the

4       three year statute of limitations.     We know that because

5       that's the law of Delaware.     We know that's the law under

6       Central Mortgage Company versus Morgan Stanley.

7                   THE COURT:   How is it that it's specific

8       performance?

9                   MR. SAUER:   Because right now Yucaipa holds a

10      bunch of debt.    What they want to do is strip the debt of

11      voting rights.    They want to require that Yucaipa

12      contributed a bunch of it, and determine that Yucaipa is not

13      eligible -- is not allowed to hold the letter of credit.

14      They're seeking to --

15                  THE COURT:   No, to say that Yucaipa bought the

16      debt when it was not an eligible assignee, and that nobody

17      raised the issue as to what the limitations might be on that

18      purchased debt within three years doesn't make sense.

19      Because the issue is whether they were subject to those --

20      whether those limitations were or were not applicable to

21      begin with.

22                  So I don't understand how -- to me, that's a

23      dispute that never expires because if they -- the ability or

24      inability to have neutered or non-neutered debt, it's --

25      arguably it's a matter of what the documents say.       And I

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1       don't see how -- I really don't see how the statute would

2       apply.      Because it comes to an interpretation of what they

3       are or are not allowed to do, and until they try at least to

4       do something, maybe this is your point, they tried to do

5       something, and it was more than three years ago, and since

6       nobody objected, the statutes expired?

7                     MR. SAUER:   Well, I think it's more than that,

8       Your Honor, and look, far be it for me to try to convince

9       you since I'm certain on this point you're made up your

10      mind, but let me just layer this a little bit.

11                    When you have a contract and that a party acts

12      under that contract, you have an obligation.       If they breach

13      -- if there's a breach of the third amendment, the breach

14      is, as they argued to this Court, remember they argued this

15      to the Court, and the Court adopted their position, that as

16      it relates to the third amendment, any challenge to the

17      third amendment or any attempt to enforce or not enforce it,

18      accrued back in September of '09.

19                    Yucaipa has been acting as requisite lender for

20      three and a half years -- for almost three years, and

21      petitioning creditors went along with it.       They took the

22      money, they did a lot of things.       Yucaipa didn't contribute

23      the debt.      Yucaipa continued to do lots of things that --

24      forget about requisite lender, that a lender holding 54

25      percent of the debt might do.

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1                    And I think that the petitioning creditors had an

2       obligation, if this was really an issue for them, to have

3       challenged the validity of Yucaipa's actions, or to have

4       specifically enforced the third amendment at the time.         And

5       we know --

6                    THE COURT:   All right.   So when Yucaipa acts

7       purportedly in violation of the contract, and the other side

8       is aware they're acting in violation of the contract, that's

9       really when the statute would start to tick.

10                   MR. SAUER:   Central Mortgage Company versus Morgan

11      Stanley says, the Delaware statute of limitations for

12      contract claims begins to run on the date of the first

13      breach, the first breach.      Yucaipa was obligated purportedly

14      to contribute 50 percent of $50 million worth of term loan

15      exposure within ten days.      They didn't.

16                   And we know -- I mean, this is not like the

17      petitioning creditors weren't thinking about this.

18                   THE COURT:   I'm sure there's something in the

19      contract, a no waiver clause, that one breach doesn't

20      necessarily waive other provisions that can be enforced.

21                   MR. SAUER:   But I don't believe the no waiver

22      provision applies to the statute of limitations.       I've

23      looked, and have not found a single case for any court

24      anywhere in this country, I thought that might come up, that

25      a no waiver provision somehow trumps a statute of

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1       limitations provision.

2                    And let me just close with one final exhibit, and

3       that is Exhibit 50, which is to my declaration at paragraph

4       32.   In late September of '09, Mr. Shaffer wrote to Mr.

5       Urlich of Black Diamond an e-mail, so it was Spectrum to

6       Black Diamond, "I like the idea to try and enforce the 50

7       percent covenant and strip their vote."

8                    They knew they had the ability to pursue specific

9       enforcement at the time, they contemplated it, they didn't.

10      Any effort to -- I believe to specifically enforce this

11      agreement, which I think really is what this dispute is

12      about is time barred.       But again, we never really have to

13      get there.

14                   THE COURT:    Okay.

15                   MR. SAUER:    Thank you, Your Honor.

16                   THE COURT:    Thank you.

17                   MR. WARD:    Your Honor, I have a few things to say

18      in reply, would you like me to go now or should we take a

19      short break?

20                   THE COURT:    Yeah, let's take a quick break and

21      hopefully this time it'll be quick.

22            (Recessed at 12:27 p.m.; reconvened at 12:39 p.m.)

23                   THE CLERK:    All rise.

24                   THE COURT:    You may be seated.

25                   Mr. Ward.

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1                   MR. WARD:    Your Honor, may I?

2                   THE COURT:    Yes.

3                   MR. WARD:    Your Honor, a couple of points.    First

4       off, we strongly disagree with what Yucaipa, what Mr. Sauer

5       has said about our plan is not having enough debt to

6       constitute the numerator.        And let me see if I understand

7       some of the admissions I believe that Mr. Sauer on behalf of

8       Yucaipa made.

9                   I think the principal admission is that we have

10      $51 million in debt, and that AMMC has 4 and a half million

11      dollars in debt, basically it's about 55 million.        The other

12      concession is that if you disregard Yucaipa's debt, and I

13      believe, Your Honor, I'm not going to repeat all of my

14      arguments, I may touch on one of them or two of them, but we

15      believe that under the third amendment, under Justice Ramos'

16      decision, whatever, that there are many, many reasons to

17      disregard Yucaipa's debt.

18                  That definition in 2.1(e) of the term loan, that

19      debt doesn't count.      The fact that eligible assignee under

20      2.1(c) of the third amendment says they can't buy LC debt.

21      But if you disregard the debt, then you're down to $109

22      million.    If you add AMMC to our debt, we've got more than

23      half.

24                  Now, Your Honor, if what Your Honor rules today is

25      simply that Yucaipa's debt is to be disregarded, we have

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1       clearly advanced the ball.    Now, what we had done, Your

2       Honor, is we believed that when Justice Ramos made his

3       decision, and you heard me spend a lot of time arguing that

4       we believed it collateral estoppel not only on the fourth

5       amendment, but also on the issue of requisite lender based

6       on his construction of the third amendment, we believe that

7       he said that the Yucaipa debt, in effect, was disregarded

8       because of his rulings and findings on the third amendment.

9                   So when we acted, and Your Honor, it's with

10      respect to Exhibits I think 10 and 11 to my affidavit, after

11      Justice Ramos' decision from the bench on November 19th, and

12      contrary to what Mr. Sauer said, Justice -- I was there.

13      Justice Ramos said, we had won, plaintiff, plaintiff you've

14      won.   We knew we had won.   All that Justice Ramos said, I

15      will follow this up with a decision.

16                  As far as we were concerned that was the ruling,

17      and it was a ruling on requisite lender issue, and it was a

18      ruling on the fourth amendment issues.

19                  So on December 3rd -- remember that argument is

20      November 19th.    On December 3rd, the entities that believes

21      they were the requisite lender on the basis of Justice

22      Ramos' decision got together and appointed the Black Diamond

23      entity and the Spectrum entity as the co-admin agents, and

24      registered the AMMC trade.

25                  If it turns out that Your Honor doesn't believe

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1       that Justice Ramos went far enough, and that it is

2       collateral estoppel on the requisite lender issue, then what

3       we would need from Your Honor is simply is a ruling that

4       Yucaipa's debt is to be disregarded.    This afternoon,

5       tomorrow, we will then get together, it doesn't matter how

6       we get together, I mean, if Black Diamond, and Spectrum, and

7       AMMC will then get together and buy the admission that Mr.

8       Sauer and Yucaipa makes, these three entities together,

9       Black Diamond, Spectrum and AMMC have a majority of debt if

10      Yucaipa's debt is disregarded.    And we believe we've given

11      Your Honor many, many bases for the disregarding of the

12      debt.

13                  And like I said, what we did on December 3rd, and

14      by the way, Exhibit 12 to my affidavit was the notice we

15      gave to Yucaipa on December 3rd that on that very day,

16      December 3rd, we had -- the parties thought they were the

17      requisite lender by virtue of Justice Ramos' decision of

18      November 19th, had appointed the co-admin agents and they

19      registered the trade.    We can just do that tomorrow.    There

20      doesn't have to be a ruling on that issue today.

21                  So -- but there are a number of other things that

22      I just want to address briefly.    First off, much of what Mr.

23      Sauer said on behalf of Yucaipa I think illustrates the

24      reason for the rule, which is very well established that you

25      don't look to extrinsic evidence to create an ambiguity in

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1       the document.    You look at the four corners of the document.

2                   If the four corners don't show an ambiguity, you

3       don't look at the extrinsic evidence.    Much of what Mr.

4       Sauer said was simply extrinsic evidence, and by the way,

5       the e-mails that he's citing to were by and large after

6       April of 2008, but it's after the third amendment.

7                   So basically what Yucaipa is arguing is, well,

8       there was a stayed amendment, and then there was a lot of e-

9       mails back and forth, Black Diamond and Spectrum and other

10      parties who are commenting on what the third amendment does.

11      If there's anything that should be excluded as unnecessary

12      extrinsic evidence in the face of a clear contract, it's

13      that sort of evidence.

14                  And where Mr. Sauer said if Judge Ramos only knew

15      what had happened.    Well, Judge Ramos knew what happened,

16      here's his ruling.    He said at page 13 of his decision which

17      is Exhibit 1 to our moving affidavit, "The credit agreement

18      itself is unambiguous, and accordingly summary judgment is

19      appropriate.    For their part, the defendants," that's

20      Yucaipa, "contend there are many factual issues.     There are

21      none.   This is a case for contract interpretation."

22                  That is a full and fair opportunity to argue for

23      purposes of collateral estoppel.

24                  Now, what Mr. Sauer says is, well, because the

25      discovery wasn't done, it's not a fair and full opportunity.

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1       Take that argument to its logical extension.     What that

2       means is that every time a Court rules for summary judgment

3       on the basis of a contract, and excludes the extrinsic

4       evidence, whether before discovery or after discovery, that

5       can't be a full and final ruling.     Because where a Court is

6       determining that a document, a contract, on its face

7       contains no ambiguity, the Court is excluding the extrinsic

8       evidence.

9                   And the rule is, you don't -- and Courts do this,

10      Courts know this, you don't look at the contract, and don't

11      look at the extrinsic evidence and say, from this extrinsic

12      evidence I hereby see there's an ambiguity.     You look at the

13      contract, if you're satisfied that the contract

14      unambiguously represents or expresses the intent of the

15      parties, you never look at the extrinsic evidence.

16                  Taking Mr. Sauer's argument to its logical

17      exclusion, never can a decision like that on summary

18      judgment be full and final and fair.     There can't be a final

19      judgment.    Well, that's not true.   There are many such

20      decisions that are final judgment.

21                  So when Justice Ramos ruled, and we had ruled for

22      summary judgment on the face of what we thought were very

23      clear contracts, the fourth amendment, the third amendment,

24      he ruled that these documents were clear on the face, and he

25      didn't need the extrinsic evidence.

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1                    That, pursuant to collateral estoppel indicates a

2       final judgment, that makes it full and fair in terms of

3       their ability to have litigated that issue.

4                    But a couple of other things have litigated that

5       issue, but a couple of other things, Your Honor, one of the

6       things that Mr. Sauer says is well, you know what, we don't

7       need to vote the debt, we just need to have the debt.     And

8       that the fact that the definition of requisite lender speaks

9       about having a holding.

10                   Now, what I think what Mr. Sauer would like to do,

11      what Yucaipa would do, I'm not making this personal, I

12      happen to have a lot of respect for Mr. Sauer, and I hope he

13      has the same for me, the definition of requisite lender is

14      part of an integrated series of documents.     It's the first

15      lien credit agreement, it's the third amendment, and it's

16      not the fourth amendment.

17                   In the third amendment, it is very clear when I've

18      cited it to Your Honor, that they can't vote.     And you can't

19      take the definition of requisite lender, where you have to

20      be a lender, and use the having holding language, and

21      exclude the voting language just because it's in another

22      provision.     Now, it may be in the third amendment, but it's

23      still part of an integrated series of documents.

24                   So as a result, the having and the holding have to

25      be read together with the voting, you have to be able to

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1       vote and -- because otherwise, as I said to Your Honor, it

2       violates the principal of contract instruction that you're

3       giving no effect to a provision in an agreement.

4                    So if you're saying, hey, Yucaipa, you can have

5       and hold, and you can be the requisite lender, but you can't

6       vote.   I mean, first off, it doesn't make any sense.    Judge

7       Ramos in his -- Justice Ramos in his decision said that's

8       just not logical, that the requisite lender acts through

9       amendments and waivers, they act, that's what a requisite

10      lender does, they act.

11                   But the problem I've got with Yucaipa's argument

12      in this regard is it takes having and holding completely out

13      of the context, and doesn't interrelate with the fact that

14      they can't vote.

15                   Now, another thing that's interesting and Mr.

16      Sauer doesn't touch upon this, is the fact that we argue

17      that a critical element of the definition of requisite

18      lenders, you have to be a lender.     Well, I did this before,

19      and I'm going to do it real fast, lender -- requisite lender

20      you have to be a lender.     Lender is defined in paragraph 30

21      of Exhibit 8, which is the first lien credit agreement, and

22      it says, you've got to either be an original signatory, they

23      were not, or you have to be a party to the assignment

24      agreement.     The assignment agreement is contained in the

25      form in Exhibit E.

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1                    Exhibit E says, you have to be able to represent

2       in that assignment agreement that it, quote, that's the

3       assignee, it meets all requirements of an eligible assignee

4       under the credit agreement.     They can't do that.    Since they

5       can't do that, they can't be a lender.       If they can't be a

6       lender, they can't be a requisite lender.

7                    Now, Yucaipa focuses on the having and holding,

8       and they ignore the voting.     I've addressed that.    But they

9       also ignore the fact that they have to be a lender.

10                   Now, they may think that they can come in and

11      violate the agreement and buy all this LC debt and buy all

12      this term loan debt, and as a result, take advantage of the

13      other creditors.     But they can't do it.    And they can't do

14      it because they can't become a lender, and because the

15      provision that says you can't vote is a problem for them,

16      because you can't be a requisite lender without voting.

17                   In particular, as I cited to Your Honor earlier in

18      the day, I think it's 2.7(a) and 2.7(b) specifically says,

19      you, Yucaipa when you buy this debt, term loan debt, any

20      debt, you cannot vote -- and by the way, the conclusion on

21      voting rights applies not only to the term loan debt, but to

22      the LC debt, both of them, and revolving debt if they had

23      bought it.     It's across the board.

24                   Now, with respect to 2.7(a) and 2.7(b), as I

25      recited to Your Honor, it says, you in effect can't do

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1       anything in a liquidation proceeding.     So I don't even

2       understand what they're doing here.     They want to be the

3       requisite lender, they say they can be the requisite lender

4       having no vote.    They got mooted that, they basically are

5       going to be a transparent requisite lender, and they're

6       specifically not allowed to do anything in this proceeding.

7                   That is, as Justice Ramos said, is not logical.

8       That also, I believe, would violate the rule of construction

9       that you're in effect or that you're giving no effect to a

10      particular provision, which is the no vote provision.

11                  But let me on to a couple of the other provisions,

12      Your Honor.    Oh, with respect to us being too late I guess

13      under Rule 901 of the Federal Rules of Evidence, I don't

14      think Mr. Sauer is right.    I don't know that that argument

15      was in his papers.    If it was, I missed it.

16                  The LSTA trade document we believe is a self-

17      authenticating document, and as a result under the Federal

18      Rules of Evidence, it's not to be excluded pursuant to the

19      argument that Mr. Sauer mentioned.    But I think that's

20      probably overly technical issue because as I said, Your

21      Honor, if Your Honor rules that Yucaipa's debt is

22      disregarded and we're down to $109 million worth of debt,

23      there is a requisite lender out there, I mean, it's Black

24      Diamond, it's Spectrum, and we're going to get together with

25      AMMC.   I mean, we own their debt anyway, and it's just going

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1       to be a matter, a purely administrative functional matter of

2       the three of us then, Black Diamond, Spectrum, and AMMC

3       appointing the admin agent, who will then register, and

4       we'll be exactly where we thought we were on December 3rd.

5                    So that, Your Honor, I think gains them absolutely

6       nothing.

7                    Oh, and with respect to the argument that Justice

8       Ramos' decision on November 19th was not effective, now as I

9       said, Your Honor, he ruled from the bench that the agreement

10      was null and void.

11                   Let me just quickly go through my notes, Your

12      Honor, because I think I've covered much of this.     Oh, two

13      arguments.     The arguments under -- well, let me do the

14      argument under Praven last, but with respect to Mr. Sauer

15      saying that in fact Yucaipa had nothing to do at least with

16      the execution of the third amendment, we cite -- we attach

17      as Exhibit 14 to our moving affidavit an e-mail from Dericks

18      Walker (ph), who is the Chairman of Allied, appointed by

19      Yucaipa, and he's writing to Ron Burkle (ph), who is for

20      want of a better term, Your Honor, I'll say he's the head

21      guy, he's the head guy at Yucaipa.

22                   And what Mr. Walker says on April 17th, 2008,

23      which Your Honor happens to be the exact same date as the

24      third amendment, he says, "We were successful in acquiring

25      $40 million in second lien debt for $26.4 million.     We now

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1       control 40 of the 50 million of outstanding second lien

2       debt."

3                    Who bought that debt that day?   It was Yucaipa.

4                    In the very next line of the e-mail he says, "we",

5       the same word he uses to describe the we who bought the

6       debt, "We also successfully obtained an amendment from our

7       first lien lenders, allowing us to buy first lien debt, and

8       convert both the first and second lien debt in equity."

9       That's the third amendment.

10                   They drafted it, they negotiated it.   I don't

11      think it's relevant, Your Honor, to be honest, because as

12      Your Honor pointed out, there is a provision that when you

13      take, when you buy the debt, you take subject to the prior

14      authorizations and consents of the parties.

15                   So when they took this debt, they took prior --

16      they took subject to the authorization that the third

17      amendment was in effect.

18                   With respect to Praven, let me point out a couple

19      of things.     Praven as I said is very clear about this

20      inclusionary/exclusionary point.     Praven makes clear and I

21      apologize, Your Honor, that it was troubled by the fact that

22      there were no express limitations on assignability.         There

23      are expressed limitations on assignability here.      And

24      although Mr. Sauer cites to all the New York cases -- well,

25      basically if you read these cases, Your Honor, like a

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1       mantra, he may have said that, they repeat again and again

2       the same language.    They're just recycling some general

3       provision of old New York law about assignability of claims.

4                   However, as we point out, in each of those cases,

5       there's no exclusionary language in Praven.     There's no

6       exclusionary language.    In 785, there's no exclusionary

7       language.    There is no language in any of these cases that

8       says, you may be an ineligible assignee or lender, you may

9       be an eligible assignee or lender, but you may not.     That's

10      what distinguishes this case, except for a couple of other

11      points that distinguish this case.

12                  First off, as I mentioned, this case here is an

13      intercreditor fight, it's not -- it's a much more simple

14      case of 785 and I know Mr. Sauer said it was very

15      complicated, but surely not that complicated.     If you had a

16      borrower, and you had a lender, and the lender assigned the

17      note to another entity, and it was that entity that was

18      seeking to make the claim.    A much more simple circumstance,

19      it's borrower versus lender, here we have Yucaipa which

20      sought to be lender, and take advantage of the other

21      lenders, through an agreement that itself had negotiated,

22      787 Praven, you don't have a circumstance where the assignee

23      had negotiated an agreement to get their foot in the door,

24      and then once they got their foot in the door, blew it wide

25      open.   It's a very, very different case.   Our case is a

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1       very, very different case.

2                   The generic state court cases of which Mr. Sauer

3       cites many don't advance the ball, except to simply say, New

4       York law, old New York law is this.     But they don't deal

5       with any exclusionary language.     There's not a single case

6       that Yucaipa has cited, that deals with an intercreditor

7       agreement, where you have two creditors who are fighting

8       with each other under the terms of the agreement.     We think

9       that our case is distinguishable.

10                  Another major reason of course is as we say in

11      Praven, the 2nd Circuit was crying out for some exclusionary

12      language, it wasn't there.     787 relies most heavily on

13      Praven, not a surprise, it's a 2nd Circuit case.     And in

14      that case, too, in 785, again, there was no exclusionary

15      language.    Here there is very clear exclusionary language,

16      some of which as I said, Your Honor, in fact, all of which

17      as I said, Your Honor, in the third amendment, was

18      negotiated by Yucaipa itself.

19                  I'm almost done, Your Honor, if you can just bear

20      with me one moment.

21            (Pause)

22                  MR. WARD:   I mean, what -- the one thing I find I

23      guess probably -- one of the things I find very troubling

24      about Yucaipa's position is what they're saying is under

25      Praven and this line of authority even though under Praven

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1       and this line of authority, we can buy the debt, but we

2       don't have to be bound by the provisions in the agreement.

3       And that seems to me to be, Your Honor, a very difficult

4       position for anyone to take.

5                   And I think finally, Your Honor, on the procedural

6       issues, Mr. Sauer said that -- I think he admitted, and in

7       fact, it's true that the cases on summary judgment have much

8       more liberal since the amendments in terms of what partial

9       summary judgment means.      And for partial summary judgment

10      you don't have to dispose of a whole claim, in a complaint

11      with three claims, you don't have to dispose of a whole

12      claim for there to be a motion for partial summary judgment

13      allowed.

14                  But the fact is, that even if that weren't the

15      case, in the Allied adversary proceeding, one of the

16      specific forms of relief that Allied specifically asks for

17      is who is the requisite lender, and a determination of their

18      rights under the third and fourth amendment.      That's what

19      we're seeking here.      We clearly should be entitled to

20      summary judgment on those issues.      And that I think, Your

21      Honor, is all I have.      Thank you for your patience.

22                  MR. SAUER:    Your Honor, may I have just literally

23      one minute?

24                  THE COURT:    Yes.

25                  MR. SAUER:    Actually I meant what I said one

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1       minute.     I think it's important that the Court obviously,

2       I'm sure has and will review the third amendment.            The

3       limitations on voting applicable to how the voting works is

4       very specifically delineated in terms of what it applies to.

5       I raised it on my opening argument, I just refer the Court

6       to that.

7                    Two, with respect to New York law, we heard lots

8       of reasons why it's distinguishable and why it's old, it's

9       not distinguishable, and it's not old.         We referenced, for

10      example -- first of all, you've got 785 Partners, which is a

11      2012 case.     We referenced Almado Oil Company (ph) which is a

12      2008 case.     We referenced the Bank Russell's case which is a

13      2000 case, all of these cases come after the Praven

14      decision.

15                   We've represented or referred to the Purchased

16      Partners case which is also a 2012 case.         So this is not old

17      outdated New York law, this is old New York which continues

18      in force and in effect, which petitioning creditors don't

19      like because it leads to a result they don't like, but it is

20      the law that needs to be applied.       Thank you.

21                   THE COURT:   Okay.   All right.    Thank you.     What

22      I'm going to -- what we're going to do is we're going to

23      take a break.     I am going to make my decision, and then

24      we'll come back and I will announce it.         We'll come back at

25      3 o'clock and I'll announce it.

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1                    I am going to close the courtroom because I'm

2       going to work here, because I've got everything here, and I

3       know where everything is.      You may leave your items, I have

4       no other matters, and we'll reconvene at 3.

5                    All right.   Thank you.

6               (Recessed at 1:00 p.m.; reconvened at 3:03 p.m.)

7                    THE CLERK:   All rise.

8                    THE COURT:   Please be seated.

9                    All right.   Hopefully this will be as relatively

10      cogent as possible, obviously complicated.      I won't bury the

11      lead.     The Court is going to grant the motion for summary

12      judgment and rule that Black Diamond/Spectrum are the

13      requisite lenders under the first lien credit agreement.

14                   So let me tell you how I got there.   I'm going to

15      start with some of the procedural, related two procedural

16      posture issues.     Sorry, first summary judgment can be

17      entered on claims and/or issues properly, and I've granted

18      summary judgment in the past on elements of claims, not even

19      claims in their entirety, and I think finally the identity

20      of the requisite lender here is implicated as an issue

21      (indiscernible) throughout the cases, certainly in

22      connection with many of the things going on in the

23      underlying bankruptcy, but also the adversary proceedings,

24      and otherwise is specifically or it relies in connection

25      with several specific claims.

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1                   Also the motion is not time barred.   The identity

2       of the requisite lender in a situation like this is

3       constantly evolving and liquid issue as people come in or

4       out of the debt.    And while (indiscernible) is the requisite

5       lender in 2007 might be time barred, the question of who is

6       requisite lender now is certainly not time barred.

7                   And I guess one could argue that the facts and law

8       governing the determination in 2013 which arose maybe in

9       2008 or 2009 would in effect make those elements time

10      barred, but I don't think that that would be a proper

11      application of a statute of limitations in a case like this.

12                  The controversy would've arise on a host of things

13      that have happened since 2007, but the specifics of making

14      the ruling are certainly not time barred.    The other point

15      is that I thought there was an argument, a good argument

16      that this issue or these issues about requisite lender have

17      been a live controversy for five years, really all the way

18      back at least as early as the CIT case being filed, and

19      really perhaps all the way back to the exit of the initial

20      bankruptcy.    So there's never been an instance where this

21      has sort of gone away and people have forgotten about it.

22      It's been something that's been live and in controversy and

23      evolving as we go forward.

24                  But again, the issue today who is the requisite

25      lender on July 30, 2013 is clearly not barred in any way by

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1       any statute of limitations.

2                   So the issue, what is the issue.   The issue as I

3       see it is pretty clear, it's who is the requisite lender.

4       And counsel for Yucaipa I think explained it very well in

5       (indiscernible) issue, that it's really a question of

6       determining the (indiscernible) denominator of the

7       appropriate debt and do the math, and seeing if a group or

8       an individual lender has over 50 percent of the debt.

9                   Now, that determination starts with an examination

10      of the four corners of the documents to determine the

11      parties' intent, which is how you -- the parties' intent,

12      first you start with the four corners of the document, if

13      it's ambiguous, you move on, and only if it is ambiguous do

14      you look to extrinsic evidence to determine the intent.

15                  And in this case, I found and hold that the

16      contract -- the contracts are not ambiguous in any way, and

17      the Court can determine its -- make its determination based

18      on the four corners of the document.

19                  The legal started as summary judgment, the

20      petitioning creditors have the burden to establish they're

21      entitled to judgment as a matter of law, and if there in

22      absence of a genuine issue of material fact, in which point

23      the burden shifts to Yucaipa to identify a genuine issue of

24      material fact.

25                  Again, just to read a little law, because I think

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1       it's important for figuring out how we proceed, under the

2       summary judgment standard, a Court -- this is -- open quote,

3       a Court faces a conceptually difficult task, end quote, in

4       interpreting a contract, because the Court must, quote,

5       determine whether as a matter of law if the contract is

6       ambiguous or unambiguous on its face.    Typically a Court may

7       (indiscernible) grant summary judgment when the terms are

8       unambiguous; however, where a Court determines as a matter

9       of law that the contract is ambiguous, it may yet examine

10      evidence extrinsic to the contract as including summary

11      judgment materials and what that evidence is as a matter of

12      law dispositive of the interpretive issue grant summary

13      judgment on that basis.

14                  And it goes on to say, a contract is unambiguous

15      if it is objectively susceptible to at least two reasonable

16      but conflicting (indiscernible), ambiguity is not determined

17      simply because the parties to the contract have differing

18      interpretations.

19                  So it would be possible to enter summary judgment

20      even if we had -- even if the Court had to go outside the

21      four corners of the document.    But in this case, I don't

22      think that you -- that we have to go outside the four

23      corners of the document, and summary judgment is certainly

24      appropriate in that instance.

25                  Now, getting into more of the specifics, Yucaipa

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1       (indiscernible) collateral estopped from arguing that the

2       fourth amendment is valid.    This arises in the case in front

3       of Judge Ramos.    Again, for (indiscernible) being identical

4       issue was raised, the issue actually litigated and decided,

5       Yucaipa had (indiscernible) opportunity to litigate, and

6       importantly that doesn't mean necessarily discovery, it's

7       really a case-by-case issue on whether there's a fault or

8       opportunity.

9                   And further (indiscernible) the issues necessary

10      to support the valid judgment, and I don't think there are

11      going to be any (indiscernible) that the fourth amendment,

12      its validity were clearly the subject of extensive briefing

13      and argument and (indiscernible) Justice Ramos, and I find

14      that Yucaipa is collaterally estopped that the fourth

15      amendment is valid.

16                  However, I don't believe they're collaterally

17      estopped from arguing the issues as to who the requisite

18      lender may or may not be under the third amendment.      And

19      (indiscernible) because I think (indiscernible) touches on

20      the third amendment a little bit, there was nothing that I

21      could find in the argument that really touched on it at all.

22      And I don't believe the Court sufficiently focused on it, I

23      don't think it was sufficiently before the Court to really

24      find that that issue was actually litigated and decided.

25                  So I find that Yucaipa is not collaterally

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1       estopped from arguing the issues related to the third

2       amendment.

3                    So that gets us to the next question which is

4       whether the third amendment on the merits precludes Yucaipa

5       from being the requisite lender; i.e., the debt not counted

6       in the denominator which of course leads to a situation

7       where the petitioning creditors might be the -- excuse me,

8       might be the requisite lenders.

9                    First, there's this argument that there's law of

10      the case that the Court has already decided, the issue and

11      as a result, we don't need to get to it any further.        And

12      the issue there being is Yucaipa stuck with the provisions

13      of the third amendment no matter what.

14                   And I certainly made that statement or statements

15      to that effect twice in the ruling on the motion to dismiss

16      the cross claims, but for purposes of the law of the case, I

17      don’t think it was sufficiently really considered or all be

18      different variations were necessarily considered that would

19      make it fairly preclusive.     So I've got to go into the

20      actual amendment itself.

21                   The potential issue there is whether the third

22      amendment required all lenders consent, as opposed to a

23      requisite lender consent.     And I'm going to quote or

24      paraphrase from one of the petitioning creditors' briefs,

25      because I think it lays it out.

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1                    Section 5.5(b)(9) of the first lien credit

2       agreement provides that the written consent of each lender

3       that would be affected thereby is necessary for any

4       amendment that has the effect of modifying the definition of

5       requisite lenders.     Because the purported fourth amendment

6       had the effect of modifying the definition of requisite

7       lenders and affected every lender, by allowing Yucaipa to

8       become requisite lender for the first time, ComBest consent

9       alone, as then requisite lender, was insufficient to validly

10      (indiscernible) fourth amendment.

11                   The third amendment, however, affected no lender,

12      but it only allowed Yucaipa to purchase very limited amounts

13      of term loans, and by Yucaipa's own admission, imposed

14      onerous restrictions on such purchases that prohibited

15      Yucaipa from ever becoming requisite lender.

16                   The only party affected was Yucaipa, and as a

17      result, the consent of the requisite lender was sufficient,

18      and all the lenders did not have to agree.

19                   Now, getting to the meat really of the argument,

20      and it goes to the definitions of term loan exposure, and

21      the definitions and changes in Section 2.1(e), which I think

22      are the critical element or the critical contractual

23      provision.     I think the effect of 2.1(e) is that all of the

24      Yucaipa debt cannot be used in determining who the requisite

25      lender is, which (indiscernible) it down to the $109 million

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1       or so of debt over which Black Diamond and Spectrum must

2       have at least 50 percent.

3                   The provisions among other things prohibited

4       Yucaipa from acquiring any revolving loans, and letters of

5       credit, which would use those to the extent they exist from

6       the denominator in figuring out the requisite lender.

7                   And as a whole, the limitations as to the

8       (indiscernible) the inability to act in insolvency

9       proceedings, the requirement ignored, contributed capital,

10      as a whole, I think I find looking at the document as a

11      whole, remove Yucaipa from being able to act as the

12      requisite lender.

13                  Upon acquiring the debt, Yucaipa subjected itself

14      to the first lien agreement and all of the amendments,

15      including the third amendment.        I think importantly though

16      even under the first amendment alone, as pointed out during

17      oral argument, Yucaipa cannot be the requisite lender

18      because it's not a lender as an implied term, as it's not an

19      original lender or not -- I have to put it, not prohibited

20      lender --

21                  UNIDENTIFIED:   (indiscernible)

22                  THE COURT:   Thank you.     So where are we?   That

23      gives us a numerator arguably of $56 million and a

24      denominator of $109 million, and we move to the issue of

25      whether Black Diamond and Spectrum can include the American

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1       debt in their number to come out with over 50 percent.

2                   I find that the American debt is certainly -- I

3       find that the American debt, or what I call the American

4       debt is part of the numerator in this case, and it's the

5       acquisition of that debt by Black Diamond's and/or Spectrum

6       is sufficient to include it in the numerator.

7                   As a result of Justice Ramos' decision, Black

8       Diamond and Spectrum became requisite lender.     Now, that

9       hasn't been determined by a court of law until today, but

10      the facts that existed, that made them requisite lender that

11      is being identified today existed after Justice Ramos'

12      decision.    And after that point, they acted to appoint an

13      agent, and they did the recommendation that they were

14      supposed to do in appointing that agent.     So there's no

15      argument to be made that the American debt or -- well, I

16      disagree with and overrule the argument that the American

17      debt cannot be included in their number.

18                  Back up a little bit here.   So having said all

19      that, I think we come to perhaps the crux of the argument,

20      and the most difficult piece of the argument to deal with.

21      And that's the Plevin (ph) and the 785 case issue about

22      enforceability.

23                  In other words, are we limited to a situation

24      where the prohibition was simply that the debt could not be

25      sold to Yucaipa, which it was, but all that does is create a

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1       breach of contract claim against the seller, and doesn't --

2       and it follows perhaps that all the limitations are not

3       really enforceable against Yucaipa.

4                   And I've looked at those cases, and this case is a

5       very different case I believe from those.     The

6       (indiscernible) to some extent outside of the four corners

7       of the document to deal with the argument about

8       enforceability, but the facts I rely on I really are

9       undisputed and (indiscernible) summary judgment is

10      appropriate.

11                  Yucaipa was involved in the negotiation and the

12      establishment of the first lien credit agreement as part of

13      the earlier bankruptcy.     And at all other times, has

14      controlled the equity and the board of directors.     And has

15      been intimately involved in every aspect of the debtor's

16      business, and the credit agreement issues since 2007.

17                  To allow Yucaipa to be involved this heavily in

18      negotiating agreements with -- including those with

19      expressed limits on Yucaipa's rights, and wont' allow them

20      to buy the debt, the seller cannot sell to them in the first

21      place, and to (indiscernible) would be inequitable, you

22      know, to the (indiscernible) degree in my mind, and as a

23      result I find that at least under these facts and

24      circumstances, the Plevin and the 785 Holdings are not

25      applicable or inapposite.

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1                   I think I've covered all the points, I think I

2       have.   And just to reiterate the ruling, I'm going to grant

3       summary judgment, holding that the petitioning creditors are

4       requisite lenders under the first lien credit agreement.

5       And I think the best thing to do would be to have counsel

6       submit an order under certification of counsel.

7                   MR. SAUER:   You Honor, may I may one comment or

8       ask a question?

9                   THE COURT:   Yes.

10                  MR. SAUER:   Thank you, Your Honor, Russell Sauer

11      of Latham & Watkins for Yucaipa.

12                  One quick comment, there is absolutely no evidence

13      in the record, because it wouldn't be true, that Yucaipa

14      participated in the negotiations in the first lien credit

15      agreement, no evidence.     More importantly just for the

16      record I understand the ruling, I'm assuming the Court is

17      overruling all of our objections to the evidence that was

18      submitted not having been produced and that was produced on

19      reply without any authentication and without being

20      properly --

21                  THE COURT:   Well, I think you actually made that

22      argument to (indiscernible) your objection to the entry of

23      that evidence, yes, it's overruled.

24                  MR. SAUER:   Thank you.

25                  THE COURT:   We obviously disagree on the first

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1       point.      That's for district courts and courts of appeal are

2       for.

3                     All right.    Anything else for today?     I guess we

4       do need to deal with this motion to shorten in connection

5       with the settlement motion.

6                     MR. SAMIS:    Your Honor, we can certainly deal with

7       that first.      I was going to raise one other matter.       We have

8       a bar date that's looming on August 2.        We did submit a

9       certification of counsel on Friday that would allow Black

10      Diamond and Spectrum to file a consolidated proof of claim

11      as agent under the first lien credit agreement.

12                    We received an objection from Mr. Klyman after we

13      had submitted that.        We turned around and withdrew it and

14      submitted a different certification of counsel actually

15      yesterday that basically made it a neutral as to who the

16      agent was, for the purpose of getting around that objection,

17      but still allow -- whoever the agent was determined to be,

18      to file a consolidated proof of claim.

19                    We haven’t seen an order hit yet on that, I do

20      have a copy of that order here in court.

21                    THE COURT:    I haven't seen it, so you can

22      approach.

23                    MR. SAMIS:    Thank you, Your Honor.     That was

24      submitted under certification yesterday, Your Honor.

25             (Pause)

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1                    THE COURT:     To back up on the enforceability

2       issue, and I understand counsel's comment about what may or

3       may not be in the record, I -- we can disagree on that and

4       (indiscernible) overly flip with my comment about appellate

5       courts, but I think that the -- in my mind at least, that

6       the summary judgment motion was -- the burden was met by

7       Black Diamond in establishing that they should be the

8       requisite lender.     And I didn't see anything that would

9       rebut that in that I really didn't see any kind of genuine

10      issue of material fact as to whether it should or should not

11      be enforceable.     I believe based on the record, which I

12      think would include really incontrovertible evidence that's

13      been in front of the Court prior, that Black Diamond or

14      excuse me, that Yucaipa was interested, but I stand by my

15      ruling.     I'm just mentioning that sort as a side.     I've

16      signed your order.        I assume there was no objection to the

17      COC?

18                   MR. SAMIS:     I think we resolved that, Your Honor,

19      by the withdrawal of the original stipulation, order, and

20      replacement with what Your Honor just signed.

21                   THE COURT:     Okay.

22                   MR. SAMIS:     Your Honor, with that, I guess I would

23      turn the podium over to Mr. Harris.

24                   MR. HARRIS:     No, it's Mr. Klyman's motion.

25                   MR. SAMIS:     I'm sorry, I thought there was an

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1       agreement.     Okay.     Go ahead.

2                    MR. KLYMAN:     Good afternoon, Your Honor, for the

3       record, Robert Klyman of Latham & Watkins on behalf of

4       Yucaipa.

5                    Your Honor, after many months and a slog through

6       the awful negotiations, Yucaipa and the committee have

7       resolved the estate claims that were brought against

8       Yucaipa.     I won't bore you with all the details, that will

9       come out in the ultimate settlement.

10                   THE COURT:     I did read the motion.

11                   MR. KLYMAN:     Yeah.   And so it's our view, Your

12      Honor, that Black Diamond and Spectrum who are objecting to

13      shortened time, have known about the economic terms since at

14      least the 17th.        The other terms don't affect their

15      individual rights.        We were very careful and the committee

16      insisted that whatever rights Black Diamond and Spectrum had

17      would be preserved in their individual capacity to sue

18      Yucaipa, Yucaipa would have the benefit of all its defenses.

19                   And Black Diamond and Spectrum have been

20      litigating this issue since before this case started, as

21      this Court well knows.        They don't need discovery and a

22      stretch out of the process to test the reasonableness of the

23      settlement.     And a 9019 motion is not a time or place for

24      this Court to conduct a mini trial on all the issues.

25                   You're very familiar with the issues with this

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1       case, they're very familiar, it's not going to take a lot of

2       evidence to show that this is at the low end of the

3       reasonableness, particularly given this Court's past

4       comments, the debtor's past comments, that we need to -- and

5       even Mr. Harris' comments that we need to clear out the

6       underbrush in order to go forward with the sale as quickly

7       as possible.

8                   Pursuant to bid procedures that Black Diamond and

9       Spectrum lobbied for, got the debtor to agree to, and for

10      you to approve, bids are due, there's going to be an auction

11      soon and it's important for us to determine whether or not

12      we have peace with the committee, whether or not there's no

13      guarantee we're going to bid, but whether or not we are

14      going to bid, and what our -- how our claim is going to be

15      treated, at least from the estate perspective.

16                  And what's important here, Your Honor, is again,

17      Black Diamond and Spectrum substantive rights are not being

18      prejudiced in terms of whatever rights they have.     They do

19      complain that they did not get a seat at the bargaining

20      table, in terms that they participated in mediation, we

21      tried that one-on-one conversations with them, but the

22      standing order that Your Honor entered did not give them the

23      right to negotiate at the bargaining table.    They had the

24      right to be consulted, which I think the evidence will show,

25      without discovery, that they were.

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1                   And, in fact, if they did delay the hearing in

2       order to obtain discovery, they don't identify in their

3       papers any discovery that they would actually want to seek.

4       If they take the depositions of committee members, the

5       committee members are likely to say, well, I acted on advice

6       of counsel, in terms of moving forward with the settlement,

7       they were intimately involved, they met, whatever.

8                   You know, the issue is, it can be resolved at

9       argument without a delay, and without the benefit of giving

10      them, you know, wasteful depositions and additional document

11      requests.     Thank you, Your Honor.

12                  THE COURT:   Thank you.

13                  MR. LAGERMANN:   Good afternoon, Your Honor, Nick

14      Lagermann from Sidley Austin on behalf of the committee.

15                  I'm not going to repeat what Mr. Klyman said, but

16      the committee obviously does also support having the

17      proposed settlement heard on the expedited schedule that we

18      had requested.

19                  I would like to note though, as Mr. Klyman hinted

20      at, and I think is actually admitted in a footnote in the

21      petitioning creditors' objection, we did, in fact, consult

22      with the petitioning creditors with regard to this proposed

23      settlement.     They have known about the economics for a long

24      period of time.     And there is no obligation in the standing

25      order to have them have a quote/unquote seat at the table,

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1       if you will.

2                    To the contrary, in paragraph 10 of the standing

3       order, this Court ruled that the committee shall have

4       ultimate decision-making authority with regard to the claims

5       and prosecution of the committee adversary proceeding.

6                    In addition, paragraph 12 of the standing order

7       gave each individual party, the committee, the petitioning

8       creditors, and actually also the debtors the ability to

9       settle the claim subject to a party's right to object under

10      Rule 9019.

11                   The petitioning creditors, if they want to file an

12      objection, they are clearly more than able to do so, and we

13      think we will deal with that at the 9019 hearing.

14                   I wanted to make one other point with regard to

15      discovery.     Again, we don't know exactly what they're

16      talking about with respect to discovery, but when this Court

17      appointed a mediator, you specifically included that all

18      mediation and related conversations would be subject to

19      Local Rule 9019-5, which includes 9019-5(d)(1), which we

20      believe would preclude discovery into settlement

21      communications.

22                   Obviously we believe this is a fair and equitable

23      rule that prevents people from digging into mediation

24      related conversations.     But to the extent that there is

25      discovery in that regard, and we go past Rule 9019(d)(1),

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1       frankly it would need to be a two-way street.        And my guess

2       is, is that's not -- that is exactly the reason why it is

3       inappropriate to have discovery to start going into what

4       people did or did not do in connection with mediation and

5       settlement communications.       Thank you, Your Honor.

6                    MR. KELLEY:    Your Honor, Jeff Kelley for the

7       debtor.     I rise in support of the motion to shorten.       The

8       debtor obviously is interested in moving this case along as

9       quickly as possible, as I'm sure the Court is.        The case has

10      been moving quickly, events are transpiring in the near

11      future which are going to be very important to resolution,

12      and we would like to have this very important settlement

13      motion heard as quickly as possible.

14                   The prospect of discovery and the estate paying

15      professionals to engage in discovery is not appealing, and

16      we join the committee in not understanding why discovery

17      would be necessary on this issue.       Thank you.

18                   THE COURT:    You're welcome.   Mr. Harris.

19                   MR. HARRIS:    Thank you, Your Honor.

20                   Your Honor, as we laid out in our papers which we

21      filed yesterday morning, we got these papers last Friday

22      night at 11 something p.m.       We're here to talk about timing

23      right now, and when this should be heard.

24                   The request that has been made by the settling

25      parties here is to effectively cut in half the period of

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1       time for notice of a hearing like this, that is generally

2       required under the local rule, and if granted, would require

3       us to file a substantive objection to this settlement by

4       this Thursday, when everybody here has known that we were

5       preparing for obviously today's hearing, which was supposed

6       to have many more things on the agenda up until yesterday

7       afternoon, when certain of them got adjourned.

8                   Physically, Your Honor, there's no way we can

9       actually comply with that timing.      And frankly, in

10      situations such as this, absent exigent circumstances

11      justified under the particular circumstances of the case,

12      frankly a notice period is often times many times longer

13      than what's included in the regular notice provisions, not

14      shortened by 50 percent.

15                  Five business days, Your Honor, is simply not

16      sufficient time in the petitioning creditors or any other

17      party in interest, frankly, who might have a say, want to

18      have a say in this, to prepare and be in a position to

19      prosecute a substantive objection should they choose to do

20      that.

21                  THE COURT:    What's the timing on the auction?

22                  MR. HARRIS:    Bids are due on August 8th.   The

23      auction is scheduled for August 14th.      And the sale hearing

24      is scheduled for August 22nd.

25                  THE COURT:    Mr. Klyman, what's the -- I understand

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1       the comments about what Black Diamond knew and when they

2       knew it, and you know, all those other now antiquated

3       references, but regardless of sort of what happened with

4       what they knew, and how this shouldn't be a surprise, et

5       cetera, what is the specific reason why say the 5th as

6       opposed to the 19th, other than you want it done sooner

7       rather than later I guess?

8                    MR. KLYMAN:   Well, there are a couple of reasons.

9       First, is the obvious, we want it done sooner rather than

10      later, since we've worked hard to get to the settlement.

11      But more substantively, I don't know Yucaipa is going to

12      bid, but if they do, Mr. Collins at the last hearing about

13      bid procedures said, we think it's important that all

14      bidders have an allowed claim.

15                   The settlement agreement provides for Yucaipa to

16      have an allowed claim vis a vis the debtor and the

17      committee.     Now, Black Diamond -- but that at least

18      eliminates some of the hurdles, and so we thought it

19      important as part of our calculation to have that resolved

20      prior to the date bids are due.

21                   Now, there's no magic to bids being due on the 8th

22      or the 14th.     If you want to extend that date, my suggestion

23      to your court and Mr. Harris, is to extend the bid deadline

24      by a couple of days, or however long is appropriate, to fit

25      us within that window.

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1                   We're also trying to accommodate what we thought

2       was the availability of this Court after August 5th or 6th

3       or whatever.    So we would --

4                   THE COURT:    That's a problem.   You know, it's

5       summer time.    So if I don't take care of you by the 7th, the

6       next available date is the 19th.

7                   MR. HARRIS:    Your Honor, if I may?

8                   THE COURT:    Yes.   Sorry, I interrupted you, Mr.

9       Harris.

10                  MR. HARRIS:    The motion as it was originally filed

11      didn't lay out any exigent circumstances justifying

12      shortening as required by the local rule.       The only argument

13      that's been made about timing here really is the issue Mr.

14      Klyman just raised about how does this affect whatever bid

15      they may submit, if at all, and the requirement of the bid

16      procedures that if you're going to bid, some currency that

17      relates to your claim has to be allowed.

18                  Mr. Klyman, first of all, says his client -- is

19      not sure his client is going to bid, so I'm not sure that's

20      a good reason why we should expedite this.         But putting that

21      aside, even if he does bid, it is not subject to argument

22      that even though the settlement agreement purports to give

23      them a quote/unquote allowed claim, that doesn't -- it's not

24      allowed within the bankruptcy, the meaning of that word as

25      used in the Bankruptcy Code, because it also says, but

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1       that's subject to arguments brought by other creditors, it's

2       only binding on the committee and the debtors, and everybody

3       knows there's an equitable subordination cause of action

4       that is going to be prosecuted here.

5                   So in evaluating the quality of that bid, the

6       debtors are going to have to take into account what value

7       that quote/unquote claim has under any set of circumstances,

8       whether the settlement agreement is approved, not approved,

9       or anything else.

10                  So what other factors to be taken into account

11      relative to the knowledge that an equitable subordination

12      claim exists, can also be taken into account the fact that

13      okay, there's a settlement agreement that purports to

14      allowed this at $113 million.    It's just a calculation that

15      -- to get factored in the context of the auction, there's no

16      reason to expedite this.    It can be done the 19th, it can be

17      done in conjunction with the sale hearing on the 22nd.       But

18      trying to put it on for some time around the 5th, a) it's

19      physically impossible for my firm to actually put that case

20      together and get an objection on file by Thursday, and then

21      prosecute this next Monday, which is the timetable that they

22      are suggesting.

23                  Your Honor, we think that some amount of discovery

24      is appropriate here, because on factual issues, and I'm not

25      looking to invade the cone of silence that sits around the

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1       mediation, I'm not absolutely looking to go there, on the

2       other hand, the standard for approval of these settlement

3       does have a burden that has to be met by the proponent.

4       It's not, we went to mediation, and the mediator blessed

5       this.   That's not the standard and it never has been.

6                   There needs to be a case that's put on.   There

7       needs to be a witness, there needs to be something that

8       supports the allegations that are made in favor of the

9       settlement.

10                  And just by way of example, Your Honor, the

11      settlement agreement in multiple places talks about how the

12      benefit to the estate of this settlement is $58 million,

13      which is a wonderful headline number, except I don't think

14      that's right, and I'd like to understand -- if that's the

15      number you're using for purposes of your calculation and

16      conclusion that this somewhat falls within the range of

17      reasonableness, then I think we're entitled to inquire as to

18      how someone came to the conclusion this estate has actually

19      benefitted to the tune of $58 million, when 20 million of

20      what is being waived clearly is of zero value, and 21

21      million of what is being contributed, is clearly not worth

22      par, at least based on all the facts and circumstances that

23      are available to the parties as we sit here today.

24                  I think that's a fair ground.   I don't think the

25      answer to that is subject to privilege.     And if I do invade

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1       the privilege, I'm sure somebody will stop me.

2                    THE COURT:    Okay.

3                    MR. HARRIS:    So with that, Your Honor, I think a

4       little longer period here would be more appropriate.             Thank

5       you.

6                    THE COURT:    Okay.     Thank you.     Mr. Buchbinder,

7       good afternoon.

8                    MR. BUCHBINDER:       Good afternoon, Your Honor, Dave

9       Buchbinder on behalf of the United States Trustee.

10                   I did not file a written objection to the motion

11      to shorten time for the very simple reason that I did not

12      see it until 8 o'clock this morning.          I had a leave day

13      yesterday.     I had an opportunity to read the underlying

14      motion, and the motion to shorten time, and I would have to

15      concur for different reasons, that the time that's being

16      requested is far too short to properly vet the issues.

17                   Without belaboring the point, there appear to be a

18      number of issues within this settlement agreement that may

19      require objection, if not argument, and frankly today's

20      ruling may create additional issues with respect to the

21      settlement agreement.       I won't go there right now.

22                   I'll just quote a notice, this motion was filed

23      literally at midnight Friday night, so it was 11:48 p.m. is

24      what my ECF notification says, and I suppose that's so

25      counsel can say they filed it Friday.             But the reality is,

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1       this motion was filed Friday night at midnight, and it was

2       -- even though the application says, we're being really

3       nice, and we're serving people by overnight mail, the

4       reality is, they don't receive it till at least Monday

5       anyway.     So it's really only three and a half business days'

6       notice, because the objection deadline as proposed is noon

7       time on Thursday.

8                    This is clearly inadequate under the

9       circumstances.

10                   THE COURT:   Yeah.

11                   MR. BUCHBINDER:      I appreciate the fact that the

12      debtor and Yucaipa and the committee are familiar with the

13      terms, and as the parties seem to have indicated, familiar

14      with them since the 17th of July, that's almost two weeks

15      ago.   The problem is, nobody else was aware of these terms

16      until this motion was filed, and there are other parties in

17      this case.

18                   There doesn't appear any reasons for the reasons

19      that have been stated by parties here, why this shouldn't go

20      out on proper notice and be heard on full notice, and an

21      opportunity to object.      Thank you, Your Honor.

22                   THE COURT:   Thank you.     All right.   I agree that

23      the time frame is way too short, that the (indiscernible) on

24      such short notice (indiscernible) give you something the

25      week of the 12th but I don't have the ability to do that.

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1       (indiscernible) I don't think it's really necessary to be

2       done that quickly.

3                    So I guess technically I'm going to deny the

4       motion to shorten, and I will hear the matter on Monday,

5       August 19th at 2 o'clock, and I'd like objections due by 4

6       o'clock on the 14th.

7                    And since we have another hearing later that week,

8       let's leave the 19th for this motion, let's not make it an

9       omnibus date, it'll simply be this motion.        Okay?

10                   And the Court will enter an order.

11                   Anything else?

12              (No response)

13                   THE COURT:   Very good.   Thank you, we're

14      adjourned.

15              (Whereupon, these proceedings were concluded at 2:05

16      p.m.)

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8       6006 Authorizing the Debtors to

9       Assume Certain Real Property Leases          --        --

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11      Debtors' Fourth Motion Pursuant to

12      Bankruptcy Rules 9006(b) and 9027 for

13      Order Extending the Time to File

14      Notices of Removal of Civil Actions          --        --

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16      Debtors' Fourth Motion for Extension

17      of Exclusive Periods During Which

18      Debtors May Propose and File Plans

19      of Reorganization and Solicit

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22      Debtors' Motion to Authorize Axis

23      Group, Inc. to Enter License Agreement

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7       Code, Bankruptcy Rule 9018, and Local

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16      Incentive Plan for Certain Insiders

17      and (II) Payment of any Obligations

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9       Sections 105(a), 363(b)(1) and

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18      Joyce Elaine Wessels, Gladys Ann

19      Walker, Michael Jay Meyer, and Dale

20      Woudstra and Tonia Woudstra for

21      Relief from the Automatic Stay to

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12      Wessels, Gladys Ann Walker, Michael

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